          Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 1 of 60

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Holly Roark (SBN 234638)
 Roark Law Offices
 950 Bannock St. Ste. 1100
 Boise, ID 83702
 T 208.536.3638
 F 310.553.2601
 holly@roarklawboise.com




     Individual appearing without attorney
     Attorney for: Synoptek, LLC

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:24-bk-10646-MB
 SYNAPSE FINANCIAL TECHNOLOGIES, INC.                                        CHAPTER: 11

                                                                                      NOTICE OF MOTION AND MOTION
                                                                                     FOR RELIEF FROM THE AUTOMATIC
                                                                                        STAY UNDER 11 U.S.C. § 362
                                                                                        (with supporting declarations
                                                                                       (PERSONAL PROPERTY) (AND
                                                                                         TERMINATE AGREEMENT)
                                                                          DATE: 09/10/2024
                                                                          TIME: 10:00 am
                                                               Debtor(s). COURTROOM: 303
 Movant: Synoptek, LLC



1. Hearing Location:

          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay, as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 1                                          F 4001-1.RFS.PP.MOTION
          Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 2 of 60


4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file a written response to this motion with the court and serve a copy of it upon the Movant's attorney (or
          upon Movant, if the motion was filed by an unrepresented individual) at the address set forth above no less than
          14 days before the hearing and appear at the hearing of this motion.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice and remains pending. After the court has ruled
               on that application, you will be served with another notice or an order that will specify the date, time and place
               of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


Date: 08/14/2024                                                                  Roark Law Offices
                                                                                  Printed name of law firm (if applicable)

                                                                                   Holly Roark
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 2                                          F 4001-1.RFS.PP.MOTION
         Case 1:24-bk-10646-MB                    Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 3 of 60

         MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO PERSONAL
         PROPERTY (AND TERMINATE AGREEMENT)
1. Movant has a perfected security interest in the Property.

2. The Property at Issue (Property):

    a.         Vehicle (year, manufacturer, type, and model):

               Vehicle Identification Number:
               Location of vehicle (if known):


    b.         Equipment (manufacturer, type, and characteristics): Gen3 and Gen4 rack mounts

               Serial number(s):

               Location (if known): Gen3 rack mount is in Los Angeles, CA. Gen4 rack mount is in San Francisco, CA.


    c.         Other Personal Property (type, identifying information, and location):



3. Bankruptcy Case History:

    a.         A voluntary bankruptcy petition    An involuntary bankruptcy petition
               under chapter     7     11      12      13 was filed on (date) 04/22/2024 .

    b.         An order to convert this case to chapter                    7        11    12       13 was entered on (date)                      .

    c.         Plan was confirmed on (date)                            .


4. Grounds for Relief from Stay:

    a.         Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant the requested relief from stay as follows:

         (1)         Movant’s interest in the Property is not adequately protected.

               (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.

               (B)       The fair market value of the Property is declining and payments are not being made to Movant
                         sufficient to protect Movant’s interest against that decline.

               (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                         obligation to insure the collateral under the terms of Movant’s contract with Debtor.

               (D)       Other (see attached continuation page).

         (2)         The bankruptcy case was filed in bad faith.

               (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                  Page 3                                       F 4001-1.RFS.PP.MOTION
          Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 4 of 60


                (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.

                (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                          filing this bankruptcy case.

                (D)       Other bankruptcy cases were filed in which an interest in the Property was asserted.

                (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                          and statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.

          (3)         (Chapter 12 or 13 cases only) All payments on account of the Property are being made through the plan
                      and plan payments have not been made to the chapter 12 or chapter 13 trustee for payments due
                         postpetition preconfirmation     postpetition postconfirmation.

          (4)         The lease has matured, been rejected or deemed rejected by operation of law.

          (5)         The Debtor filed a statement of intention that indicates the Debtor intends to surrender the Property.

          (6)         Movant regained possession of the Property on (date)                                 , which is
                        prepetition   postpetition.

          (7)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to 11 U.S.C.
                § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

5. Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew that the bankruptcy petition had been filed and Movant would
                have been entitled to relief from stay to proceed with those actions,

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions,

     c.         Other (specify):


6.        Evidence in Support of Motion: (Declaration(s) must be signed under penalty of perjury and attached to
          this motion)

     a. The PERSONAL PROPERTY DECLARATION on page 6 of this motion.

     b.         Supplemental declaration(s).

     c.         The statements made by the Debtor under penalty of perjury concerning Movant’s claims and the Property as
                set forth in the Debtor’s case commencement documents. Authenticated copies of the relevant portions of
                the case commencement documents are attached as Exhibit(s)                 .

     d.         Other: Request for Judicial Notice



7. An optional Memorandum of Points and Authorities is attached to this motion.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 4                                          F 4001-1.RFS.PP.MOTION
       Case 1:24-bk-10646-MB                      Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 5 of 60

Movant requests the following relief:

1. Relief from the stay is granted under:                 11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)

2.      Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
        remedies to repossess and sell the Property.

3.      Confirmation that there is no stay in effect.

4.      The stay is annulled retroactive to the petition date. Any postpetition actions taken by Movant to enforce its
        remedies regarding the Property do not constitute a violation of the stay.

5.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
        the same terms and conditions as to the Debtor.

6.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

7.      The order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years after
        the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
        based upon changed circumstances or for good cause shown, after notice and hearing.

8.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Property.

9.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
        interest in the Property for a period of 180 days, so that no further stay shall arise in that case as to the Property.

10.     The order is binding and effective in any future bankruptcy case, no matter who the debtor may be
           without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
        compliance with applicable nonbankruptcy law.

11.     If relief from stay is not granted, the court orders adequate protection.

12.     See continuation page for other relief requested



Date: 08/14/2024                                                        Roark Law Offices
                                                                        Print name of law firm

                                                                        Holly Roark
                                                                        Print name of individual Movant or attorney for Movant




                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 5                                          F 4001-1.RFS.PP.MOTION
         Case 1:24-bk-10646-MB SEE
                                Doc ATTACHMENT
                                    338 Filed 08/14/24 Entered 08/14/24 21:40:30                                                         Desc
                                 Main Document    Page 6 of 60

                                             PERSONAL PROPERTY DECLARATION




                                X
I, (name of declarant)                                                                      , declare:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant’s interest in the Property
   (specify):

    a.         I am the Movant.

    b.         I am employed by Movant as (title and capacity):


    c.         Other (specify):




2. a.          I am one of the custodians of the books, records and files of Movant that pertain to loans, leases, or
               extensions of credit given to Debtor concerning the Property. I have personally worked on books, records
               and files, and as to the following facts, I know them to be true of my own knowledge or I have gained
               knowledge of them from the business records of Movant on behalf of Movant, which were made at or about
               the time of the events recorded, and which are maintained in the ordinary course of Movant’s business at or
               near the time of the acts, conditions or events to which they relate. Any such document was prepared in the
               ordinary course of business of Movant by a person who had personal knowledge of the event being recorded
               and had or has a business duty to record accurately such event. The business records are available for
               inspection and copies can be submitted to the court if required.

    b.         Other (see attached):



 3. The Property is:

    a.         Vehicle (year, manufacturer, type, model and year):

               Vehicle Identification Number:
               Location of vehicle (if known):


    b.         Equipment (manufacturer, type, and characteristics): Gen3 and Gen4 rack mounts

               Serial number(s):
               Location (if known): Gen3 rack mount is in Los Angeles, CA. Gen4 rack mount is in San Francisco, CA.


    c.         Other personal property (type, identifying information, and location):




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 6                                          F 4001-1.RFS.PP.MOTION
          Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                   Main Document    Page 7 of 60

4. The nature of Debtor’s interest in the Property is:




                                X
     a.         Sole owner
     b.         Co-owner (specify):
     c.         Lessee
     d.         Other (specify):
     e.         Debtor        did       did not list the Property in the schedules filed in this case.

5.        The lease matured or was rejected on (date)                                       :

     a.         rejected
          (1)       by operation of law.
          (2)       by order of the court.
     b.         matured.

6. Movant has a perfected security interest in the Property.

     a.         A true and correct copy of the promissory note or other document that evidences the debt owed by the Debtor
                to Movant is attached as Exhibit         .

     b.         The Property is a motor vehicle, boat, or other personal property for which a certificate of title is provided for
                by state law. True and correct copies of the following items are attached to this motion:
          (1)       Certificate of title (“pink slip”) (Exhibit                        ).
          (2)       Vehicle or other lease agreement (Exhibit                               ).
          (3)       Security agreement (Exhibit                       ).
          (4)       Other evidence of a security interest (Exhibit                               ).

     c.         The Property is equipment, intangibles, or other personal property for which a certificate of title is not provided
                for by state law. True and correct copies of the following items are attached to this motion:
          (1)       Security agreement (Exhibit                       ).
          (2)       UCC-1 financing statement (Exhibit                            ).
          (3)       UCC financing statement search results (Exhibit                                   ).
          (4)       Recorded or filed leases (Exhibit                        ).
          (5)       Other evidence of perfection of a security interest (Exhibit                               ).

     d.         The Property is consumer goods. True and correct copies of the following items are attached to this motion:
          (1)       Credit application (Exhibit                  ).
          (2)       Purchase agreement (Exhibit                        ).
          (3)       Account statement showing payments made and balance due (Exhibit                                     ).
          (4)       Other evidence of perfection of a security interest (if necessary under state law) (Exhibit                                  ).

     e.         Other liens against the Property are attached as Exhibit                                   .




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                   Page 7                                      F 4001-1.RFS.PP.MOTION
           Case 1:24-bk-10646-MB                            Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                                Desc
                                                             Main Document    Page 8 of 60

7. Status of Movant’s debt:




                                      X
      a. The amount of the monthly payment: $                                                                    .

      b. Number of payments that became due and were not tendered:                                                   prepetition           postpetition.

      c.   Total amount in arrears: $                                                        .

      d. Last payment received on (date):                                           .

      e. Future payments due by the anticipated hearing date (if applicable):
         An additional payment of $                             will come due on (date)                , and on
         the                day of each month thereafter. If the payment is not received by the
         day of the month, a late charge of $                       will be charged under the terms of the loan.

8.         Attached as Exhibit         is a true and correct copy of a POSTPETITION payment history that accurately
           reflects the dates and amounts of all payments made by the Debtor since the petition date.

9. Amount of Movant’s debt:

      a.   Principal:...................................................................................................................... $
      b.   Accrued interest: ......................................................................................................... $
      c.   Costs (attorney’s fees, late charges, other costs): ...................................................... $
      d.   Advances (property taxes, insurance): ....................................................................... $
      e.   TOTAL CLAIM as of                                  : ............................................................................ $


10.        (Chapter 7 and 11 cases only) Valuation: The fair market value of the Property is: $                                                                     .
           This valuation is based upon the following supporting evidence:

      a.         This is the value stated for property of this year, make, model, and general features in the reference guide
                 most commonly used source for valuation data used by Movant in the ordinary course of its business for
                 determining the value of this type of property. True and correct copies of the relevant excerpts of the most
                 recent edition of the reference guide are attached as Exhibit          .

      b.         This is the value determined by an appraisal or other expert evaluation. True and correct copies of the
                 expert’s report and/or declaration are attached as Exhibit        .

      c.         The Debtor’s admissions in the Debtor’s schedules filed in the case. True and correct copies of the relevant
                 portions of the Debtor’s schedules are attached as Exhibit         .

      d.         Other basis for valuation (specify):




           NOTE: If valuation is contested, supplemental declarations providing additional foundation for the
                 opinions of value should be submitted.

11. Calculation of equity in Property:

      a.         11 U.S.C. § 362(d)(1) - Equity Cushion:

                 I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any lien(s)
                 senior to Movant’s debt is $                               and is         % of the fair market value of the
                 Property.


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                               Page 8                                                   F 4001-1.RFS.PP.MOTION
           Case 1:24-bk-10646-MB                  Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                        Desc
                                                   Main Document    Page 9 of 60

      b.       11 U.S.C. § 362(d)(2)(A) - Equity:




                                X
               By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
               Paragraph 10 above, I calculate that the Debtor’s equity in the Property is $                               .

12.        The fair market value of the Property is declining because:




13.        The Debtor’s intent is to surrender the Property. A true and correct copy of the Debtor’s statement of intentions is
           attached as Exhibit           .

14.        Movant regained possession of the Property on (date)                                  , which is:        prepetition           postpetition.

15.        (Chapter 12 or 13 cases only) Status of Movant’s debt and other bankruptcy case information:

      a. The 341(a) meeting of creditors is currently scheduled for (or concluded on) (date)
         A plan confirmation hearing is currently scheduled for (or concluded on) (date)
         The plan was confirmed on (if applicable) (date)
      b. Postpetition preconfirmation payments due BUT REMAINING UNPAID after the filing of the case:
          Number of      Number of      Amount of Each Payment
                                                                     Total
          Payments Late Charges             or Late Charge
                                        $                      $
                                        $                      $
                                        $                      $
                                        $                      $
                                        $                      $
                                        $                      $
                                        $                      $
                                        $                      $
           (See attachment for additional breakdown of information attached as Exhibit ______.)

      c.   Postconfirmation payments due BUT REMAINING UNPAID after the plan confirmation date (if applicable):
            Number of        Number of           Amount of Each Payment
                                                                                                 Total
            Payments        Late Charges            or Late Charge
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
                                                 $                                   $
      d. Postpetition advances or other charges due but unpaid:                                             $
         (For details of type and amount, see Exhibit     )
      e. Attorneys’ fees and costs:                                                                         $
         (For details of type and amount, see Exhibit                     )
      f.   Less suspense account or partial paid balance:                                                   $[                        ]
                               TOTAL POSTPETITION DELINQUENCY:                                              $




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 9                                          F 4001-1.RFS.PP.MOTION
           Case 1:24-bk-10646-MB                  Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                  Main Document     Page 10 of 60

      J.       The entire claim is provided for in the chapter 12 or 13 plan and postpetition plan payments are delinquent.
               The plan payment history is attached as Exhibit         . See attached declaration(s) of chapter 12 trustee or




                                X
               13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT.TRUSTEE).

16.        Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s obligation to
           insure the collateral under the terms of Movant’s contract with Debtor.

17.        The bankruptcy case was filed in bad faith:

      a.       Movant is the only creditor or one of few creditors listed in the Debtor’s case commencement documents.

      b.       Other bankruptcy cases have been filed in which an interest in the Property was asserted.

      c.       The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
               (or chapter 13 plan, if appropriate) have not been filed.

      d.       Other (specify):




18.        The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
      a.       The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
               court approval. See attached continuation page for facts establishing the scheme.
      b.       Multiple bankruptcy cases affecting the Property:

           (1) Case name:
               Chapter:                Case number:
               Date ILOed:                       Date discharged:                                           Date GLVPLVVHG
               Relief from stay regarding the Property    was     was not granted.

           (2) Case name:
               Chapter:                Case number:
               Date ILOed:                       Date discharged:                                           Date GLVPLVVHG
               Relief from stay regarding the Property    was     was not granted.

           (3) Case name:
               Chapter:                Case number:
               Date ILOed:                       Date discharged:                                           Date GLVPLVVHG
               Relief from stay regarding the Property    was     was not granted.

               See attached continuation page for more information about other bankruptcy cases affecting the Property.
               See attached continuation page for additional facts establishing that the multiple bankruptcy cases were part
               of a scheme to delay, hinder, and defraud creditors.

19.        Enforcement actions taken after the bankruptcy petition was filed are specified in the attached supplemental
           declaration(s).

      a.       These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 10                                         F 4001-1.RFS.PP.MOTION
         Case 1:24-bk-10646-MB                    Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                  Main Document     Page 11 of 60

    b.         Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit  .




                                X
    c.         For other facts justifying annulment, see attached continuation page.



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 11                                         F 4001-1.RFS.PP.MOTION
       Case 1:24-bk-10646-MB                      Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                                  Main Document     Page 12 of 60

                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
950 Bannock St. Ste. 1100 Boise, ID 83702


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (PERSONAL PROPERTY) (AND
TERMINATE AGREEMENT) will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 8/14/2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 8/14/2024 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 8/14/2024            Holly Roark
 Date                         Printed Name                                                       Signature



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page 12                                         F 4001-1.RFS.PP.MOTION
Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                        Main Document     Page 13 of 60



                                  ATTACHMENT TO PROOF OF SERVICE

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
        (NEF):
     • Ron Bender rb@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Monica Y Kim myk@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Krikor J Meshefejian kjm@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Beth Ann R. Young bry@lnbyg.com for Debtor Synapse Financial Technologies, Inc.
     • Jelena McWilliams jmcwilliams@cravath.com Chapter 11 Trustee
     • Jane Kim jkim@kellerbenvenutti.com for Chapter 11 Trustee
     • Jeremy V Richards jrichards@kbkllp.com for Chapter 11 Trustee
     • Thomas B Rupp trupp@kbkllp.com for Chapter 11 Trustee
     • Russell Clementson russell.clementson@usdoj.gov for United States Trustee
     • Zev Shechtman Saul Ewing LLP Zev.Shechtman@saul.com for Official Committee of
        Unsecured Creditors of Synapse Financial Technologies, Inc.
     • Joshua D. Morse joshua.morse@pillsburylaw.com for AMG National Trust Bank
     • Claire K Wu claire.wu@pillsburylaw.com for AMG National Trust Bank
     • Lance N Jurich ljurich@loeb.com for AMG National Trust Bank
     • Ralph P Guenther rguenther@guentherlawgroup.com for Capital J Inc. d/b/a Juno
     • Andrew Michael Cummings andrew.cummings@hklaw.com for Cigna Health and Life
        Insurance Company
     • Jeffrey C Wisler jwisler@connollygallagher.com for Cigna Health and Life Insurance
        Company
     • Sara Chenetz schenetz@perkinscoie.com Courtesy NEF
     • Michael I. Gottfried mgottfried@elkinskalt.com Courtesy NEF
     • Steven T Gubner sgubner@bg.law Courtesy NEF
     • Valerie Bantner Peo vbantnerpeo@buchalter.com Courtesy NEF
     • David M Poitras dpoitras@bg.law Courtesy NEF
     • J Scott Bovitz bovitz@bovitz-spitzer.com for EarnUp inc. and EarnUp, LLC
     • David M Poitras dpoitras@bg.law for Evolve Bank & Trust
     • William J Levant wlevant@kaplaw.com for William Levant
     • Paul R. Glassman pglassman@stradlinglaw.com for Lineage Bank
     • Nicholas Christian Glenos cglenos@bradley.com for Lineage Bank
     • Fred Neufeld fneufeld@stradlinglaw.com for Lineage Bank
     • Michael G. Farag mfarag@gibsondunn.com for Mercury Technologies, Inc.
     • Jeffrey C Krause jkrause@gibsondunn.com for Mercury Technologies, Inc.
     • David A Berkley david.berkley@wbd-us.com for MongoDB, Inc.



This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                       F 9013-3.1.PROOF.SERVICE
Page 13 of 60
Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                        Main Document     Page 14 of 60



     •    Zev Shechtman Zev.Shechtman@saul.com for Official Committee of Unsecured
          Creditors of Synapse Financial Technologies, Inc.
     •    Adam A Lewis alewis@mofo.com for Silicon Valley Bank
     •    Rudy J Cerone rcerone@mcglinchey.com for SoLo Funds, Inc.
     •    Raymond O Aghaian raghaian@kilpatricktownsend.com for TClub Inc.
     •    Paul M Rosenblatt prosenblatt@kilpatricktownsend.com for TClub Inc.
     •    Robert T. Honeywell robert.honeywell@klgates.com for TabaPay Holdings LLC
     •    Brandy A Sargent brandy.sargent@klgates.com for TabaPay Holdings LLC
     •    Callan C Searcy bk-csearcy@texasattorneygeneral.gov for Texas Comptroller of Public
          Accounts, Revenue Accounting Division and Texas Workforce Commission
     •    Darren Azman dazman@mwe.com for TriplePoint Capital, LLC
     •    Jason D Strabo jstrabo@mwe.com for TriplePoint Capital, LLC
     •    Michael H Goldstein mgoldstein@goodwinprocter.com for YieldStreet Inc
     •    Michael I. Gottfried mgottfried@elkinskalt.com for Yotta Technologies, Inc.

2. SERVED BY UNITED STATES MAIL:

 DEBTOR                                                             AGENT FOR SERVICE OF PROCESS FOR
 Synapse Financial Technologies, Inc.                               DEBTOR
 21255 Burbank Boulevard Suite 120                                  1505 Corporation National Registered
 Woodland Hills, CA 91367-0000                                      Agents, Inc.
                                                                    Amanda Garcia
                                                                    330 N Brand Blvd
                                                                    Glendale, CA 91203

 COUNSEL FOR DEBTOR                                                 CHAPTER 11 TRUSTEE
 Levene, Neale, Bender, Yoo & Golubchik                             Jelena McWilliams (TR)
 LLP                                                                Cravath, Swaine & Moore LLP
 2818 La Cienega Avenue                                             Two Manhattan West
 Los Angeles, CA 90034                                              375 Ninth Avenue
                                                                    New York, NY 10001

 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
 Alexander Gerten                                                   Benjamin Gruenstein
 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
 Two Manhattan West                                                 2 Manhattan West
 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001




This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                       F 9013-3.1.PROOF.SERVICE
Page 14 of 60
Case 1:24-bk-10646-MB                   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                        Main Document     Page 15 of 60



 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
 Paul H Zumbro                                                      John D Buretta
 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
 2 Manhattan West                                                   2 Manhattan West
 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001


 COUNSEL FOR OFFICIAL UNSECURED                                     COUNSEL FOR OFFICIAL UNSECURED
 CREDITORS’ COMMITTEE OF SYNAPSE                                    CREDITORS’ COMMITTEE OF SYNAPSE
 FINANCIAL TECHNOLOGIES, INC.                                       FINANCIAL TECHNOLOGIES, INC.
 Zev Schechtman                                                     Benjamin Waisbren
 Carol Chow                                                         John Kucera
 Saul Ewing LLP                                                     Boies Schiller Flexner LLP
 1888 Century Park East Ste 1500                                    1401 New York Avenue, N.W.
 Los Angeles, CA 90067                                              Washington, DC 2005

 COUNSEL FOR TRIPLEPOINT CAPITAL,                                   Darren Azman
 LLC                                                                One Vanderbilt Avenue
 Jake Jumbeck                                                       New York, NY 10017-3852
 McDermott Will & Emery LLP
 444 W. Lake Street, Suite 4000
 Chicago, CA 60606-0029

 Robert J Labate                                                    Neda Shapourian
 400 South Hope Street, 8th Floor                                   Unit21, Inc.
 Los Angeles, CA 90071                                              49 Geary St. Ste 200
                                                                    San Francisco, CA 94108




This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                       F 9013-3.1.PROOF.SERVICE
Page 15 of 60
Case 1:24-bk-10646-MB      Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30         Desc
                           Main Document     Page 16 of 60

      Holly Roark (SBN 234638)
  1 ROARK LAW OFFICES
      950 Bannock St. Ste. 1100
  2 Boise, ID 83702
      T (310) 553-2600
  3 F (310) 553-2601
      holly@roarklawoffices.com
  4
  5 Attorney for Synoptek, LLC
  6
  7
  8                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
  9                            SAN FERNANDO VALLEY DIVISION
 10
 11                                                   Case No. 1:24-bk-10646-MB
       In re                                          Chapter 11
 12
                                                      MEMORANDUM OF POINTS AND
 13    SYNAPSE FINANCIAL TECHNOLOGIES,                AUTHORITIES IN SUPPORT OF
       INC.                                           NOTICE OF MOTION AND MOTION
 14                                                   FOR RELIEF FROM THE
                   Debtor and Debtor in Possession.   AUTOMATIC STAY UNDER 11 U.S.C.
 15                                                   § 362
 16                                                   [Declaration of Tonia Danford and
                                                      Request for Judicial Notice filed
 17                                                   concurrently herewith]
 18
                                                      Date: September 10, 2024
 19                                                   Time: 10:00 a.m.
                                                      Place: Courtroom 303
 20                                                          21041 Burbank Boulevard
                                                             Woodland Hills, CA 91367
 21
 22
 23
 24
 25
 26
 27
 28


Page 16 of 60            MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 1:24-bk-10646-MB        Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30               Desc
                             Main Document     Page 17 of 60


1           TO THE DEBTOR, DEBTOR IN POSSESSION, CHAPTER 11 TRUSTEE,

2    UNSECURED CREDITORS COMMITTEE, RESPONDING PARTIES, THEIR COUNSEL

3    OF RECORD, AND TO ALL INTERESTED PARTIES:

4           Movant, Synoptek, LLC, hereby submits its Memorandum of Points and Authorities in

5    Support of its Notice of Motion and Motion for Relief from the Automatic Stay Under 11 U.S.C.

6    § 362 and represents as follows:

7                          MEMORANDUM OF POINTS AND AUTHORITIES

8    I.     BACKGROUND

9           1.      Movant, Synoptek, LLC (“Movant” or “Synoptek”) provides technology

10   consulting and managed IT services, including the sale of hardware and software to clients,

11   including the Debtor (defined below), pursuant to an executory contract. See Declaration of

12   Tonia Danford attached hereto (“Decl.”), ¶ 3.

13          2.      On or about January 9, 2019, Synoptek and Synapse Financial Technologies, Inc.

14   (the “Debtor” or “Customer”) entered into the Master Service Agreement (the “MSA”) for the

15   purchase of contracted hardware and software (collectively, the “Product”), various professional

16   services, and/or managed services (collectively, the “Services”) including client advisory,

17   security event and information management, dedicated cloud, and threat intelligent reporting.

18   Pursuant to Article 1.4 of the MSA, the Service Orders define what specific Services Synoptek

19   provides to the Debtor (the “Service Orders”). Decl., ¶ 4, Ex. A.

20          3.      Payments under the MSA come due and payable 30 days after the invoice date.

21   Decl., ¶ 5, Ex. A, Article 2.3.

22          4.      On December 1, 2023, the Debtor defaulted under the MSA for its failure to timely

23   pay invoices for pre-petition Services provided by Synoptek to the Debtor. There remains a pre-

24   petition sum due and owing by the Debtor to Synoptek in the amount of $15,302.18. The pre-

25   petition amount is calculated by taking the sum of Invoice 1238585, plus the first twenty-one (21)

26   days of Invoice 1245438 which is billing in advance for services rendered from April 1, 2023, to

27   April 30, 2023. Decl., ¶ 6. Ex. B.

28

                                                     2
Page 17 of 60
                      MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 1:24-bk-10646-MB        Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                 Desc
                             Main Document     Page 18 of 60


1           5.       Pursuant to Article 10.3, Movant has the right to terminate the MSA due to the

2    failure of Debtor to timely pay its invoices. Decl., ¶ 7, Ex. A, Article 10.3.

3           6.       On April 22, 2024, Debtor, Synapse Financial Technologies, Inc. filed its Chapter

4    11 bankruptcy case, Case number 1:24-bk-10646-MB. Decl., ¶ 8.

5           7.       Pursuant to Article 10.4 of the MSA, it shall be deemed a material breach if the

6    Customer becomes insolvent or bankrupt, and the MSA may be terminated as a result of said

7    breach. Decl., ¶ 9, Ex. A, Article 10.4.

8           8.       On May 8, 2024, the Official Committee of Unsecured Creditors was appointed.

9    Dkt. No. 128.

10          9.       On May 24, 2024, the Court entered its Order approving the appointment of Jelena

11   McWilliams as Chapter 11 Trustee. Dkt. No. 199.

12          10.      On April 29, 2024, Debtor filed its First Omnibus Motion for Entry of an Order

13   Authorizing Rejection of Executory Contracts and Unexpired Leases as Docket No. 76. Movant

14   is listed as Number 282 on page 16 of 33 as a “Services Agreement” to be rejected, effective as

15   of April 29, 2024, if not assumed in the sale of Debtor’s assets to be held on May 9, 2024. See

16   accompanying Request for Judicial Notice (“RJN”), Ex. E. The sale did not close. On May 24,

17   2024, the Court entered its Order granting the Motion, entered as Docket No. 195, with an

18   effective rejection date of May 9, 2024. RJN, Ex. F.

19          11.      Movant has continued to provide post-petition Services to the Debtor and has not

20   been paid for such Services. As of August 14, 2024, $39,855.70 is due and owing by the Debtor

21   to Synoptek for post-petition Services, which continues to accrue. Decl., ¶ 10, Ex. C.

22          12.      Debtor has continued to use two pieces of hardware identified as edge collectors,

23   at each of its locations in Los Angeles, and San Francisco, California (the “hardware”). The edge

24   device in Los Angeles is a Gen3 rack mount. The edge collector in San Francisco is a Gen4 rack

25   mount. Both devices are custom builds utilizing SUPERMICRO 5019D-FTN4 chassis. Both edge

26   collectors cost $1,500 each, and both are Synoptek owned equipment that were provided to Debtor

27   as part of the ITaaS Site service, and should be returned to Synoptek. Decl. ¶ 11, Ex. D.

28

                                                      3
Page 18 of 60
                      MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 1:24-bk-10646-MB        Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                Desc
                             Main Document     Page 19 of 60


1           13.      Synoptek is the owner of the hardware referenced above. Decl. ¶ 11. The Debtor

2    has possession of the hardware and has not relinquished possession of the same to Movant.

3           14.      The Debtor has no equity in the hardware, as the Debtor has no ownership interest.

4    The Debtor is in default of the MSA and has not cured the default and assumed the MSA in

5    accordance with the Bankruptcy Code. Despite repeated requests, the Debtor has also failed to

6    pay post-petition invoices for the services rendered under the MSA, in the ordinary course of

7    business, since the bankruptcy filing.

8           15.      As of August 14, 2024, the total amount owed for pre-petition and post-petition

9    Services is $55,157.88, plus attorney’s fees, costs, and late payment service charges. Decl., ¶ 13,

10   Ex. A, Article 6.5. The Termination Fees total $62,072.15 calculated by multiplying the monthly

11   recurring fee of $8,867.45 by the remaining seven (7) months of the MSA. Decl., ¶ 13, Ex. A,

12   Article 10.2.

13   II.    ARGUMENT

14          16.      Although the Debtor has rejected the MSA, the Automatic Stay is not terminated,

15   and Movant is still obligated to perform under the MSA absent the Court granting relief from

16   the Automatic Stay to terminate the MSA. Computer Communications, Inc. v. Codex

17   Corporation, 824 F.2d 725, 731 (9th Cir. 1987).

18          17.      11 U.S.C. § 362(d)(1) allows the automatic stay to be terminated “for cause,

19   including lack of adequate protection of an interest in property of such party in interest.” Cause

20   exists to grant Movant the requested relief from stay as follows: (1) The MSA has been rejected

21   by Order of the Court, effective as of May 9, 2024. (RJN Exs. E, F.) (2) Debtor has failed to

22   make ongoing post-petition payments for services rendered to Debtor by Movant. (Decl., ¶¶10,

23   13.)

24          18.      11 U.S.C. § 362(d)(2) allows the automatic stay to be terminated when (A) “the

25   debtor does not have an equity in such property; and (B) such property is not necessary to an

26   effective reorganization.” Movant is the owner of the hardware in Debtor’s possession. The

27   Debtor has no interest or equity in the hardware. The hardware is not being sold to Debtor but

28   was provided as part of the MSA so long as that agreement is in effect. Since Debtor rejected the

                                                       4
Page 19 of 60
                     MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 1:24-bk-10646-MB          Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30              Desc
                               Main Document     Page 20 of 60


 1   MSA, in can be infe1Ted that Movant's hardware and Services are not necessaiy to an effective

2    reorganization.

3             19.      Absent the filing of the Chapter 11 proceeding, Movant would have tenninated its

4    services, obtained possession of its hai·dwai·e, and sought damages thereof. Unless this Court

5    pe1mits Movant to proceed with immediate termination of the MSA, then Movant will suffer great

6    and irreparable damage and injury by reason of the fact that it is not receiving any monthly

7    payments for the ongoing services and its hardware is being retained by the Debtor without
8    postpetition payment of Movant's invoices.

9             20.      Thus, due to the foregoing breaches of the MSA and the rejection of the MSA

10   under 11 U.S .C. §365(a), Movant is entitled to relief from automatic stay pursuant to 11 U.S .C.

11   § 362(d)(l) and§ 362(d)(2), to te1minate its services under the MSA and recover its hardware.

12   III.     CONCLUSION

13            WHEREFORE, Movant Synoptek, LLC respectfully requests that the Court enter an

14   Order:

15            1.       Granting the Motion in its entirety;

16            2.       Te1minating the Automatic Stay so that Movant can terminate its Services under

17   the Master Services Agreement and recover its hardware;

18            3.       Waiving the 14-day stay prescribed by Fed. R. Bankr. P. 400l(a)(3); and

19            4.       Granting such further relief as is just and proper.

20
21   DATED: August 14, 2024                                   ROARK LAW OFFICES

22

23
24

25
                                                              1MJ1~,
                                                              Synoptek, LLC

26
27
28

                                              5
Page 20 of 60
                        MOTION FOR RELIEF FROM THE AUTOMATIC STAY
Case 1:24-bk-10646-MB     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30             Desc
                          Main Document     Page 21 of 60

     Holly Roark (SBN 234638)
1    ROARK LAW OFFICES
     950 Bannock St. Ste. 1100
2    Boise, ID 83702
     T (310) 553-2600
3    F (310) 553-2601
     holly@roarklawoffices.com
4
5    Attorney for Synoptek, LLC
6
7
8                           UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
9                             SAN FERNANDO VALLEY DIVISION
10
11                                                       Case No. 1:24-bk-10646-MB
      In re                                              Chapter 11
12
                                                         DECLARATION OF TONIA DANFORD
13    SYNAPSE FINANCIAL TECHNOLOGIES,                    IN SUPPORT OF NOTICE OF
      INC.                                               MOTION AND MOTION FOR RELIEF
14                                                       FROM THE AUTOMATIC STAY
                  Debtor and Debtor in Possession.       UNDER 11 U.S.C. § 362
15
16
                                                         Date: September 10, 2024
17                                                       Time: 10:00 a.m.
                                                         Place: Courtroom 303
18                                                              21041 Burbank Boulevard
                                                                Woodland Hills, CA 91367
19
20
21
22
23
24
25
26
27
28

                                                     6
Page 21 of 60
                                          DECLARATION
Case 1:24-bk-10646-MB        Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                 Desc
                             Main Document     Page 22 of 60


1                               DECLARATION OF TONIA DANFORD

2
3           I, TONIA DANFORD, declare as follows:

4           1.      I am the Director of Strategic Finance of Movant, Synoptek, LLC (“Movant” or

5    “Synoptek”) . I am over the age of 18. I have personal knowledge of the facts set forth herein

6    and if called as a witness to testify, I could and would testify thereto competently and truthfully.

7           2.      I am one of the custodians of the books, records and files of Movant that pertain

8    to the hardware, software, and various professional services and/or managed services given to

9    Debtor in connection with the Master Services Agreement entered into between Debtor and

10   Movant on January 9, 2019. I have gained knowledge of the books, records, and files from the

11   business records of Movant on behalf of Movant, which were made at or about the time of the

12   events recorded, and which are maintained in the ordinary course of Movant’s business at or near

13   the time of the acts, conditions or events to which they relate. Any such document was prepared

14   in the ordinary course of business of Movant by a person who had personal knowledge of the

15   event being recorded and had or has a business duty to record accurately such event. The business

16   records are available for inspection and copies can be submitted to the court if required.

17          3.      Movant provides technology consulting and managed IT services, including the

18   sale of hardware and software to clients, including the Debtor (defined below), pursuant to an

19   executory contract.

20          4.      On or about January 9, 2019, Synoptek and Synapse Financial Technologies, Inc.

21   (the “Debtor” and “Customer”) entered into a Master Service Agreement (“MSA”) for the

22   purchase of contracted hardware and software (collectively, the “Product”), various professional

23   services, and/or managed services (together, the “Services”), including client advisory, security

24   event and information management, dedicated cloud, and threat intelligent reporting. Pursuant to

25   Article 1.4 of the MSA, the Service Orders defines what specific Services Synoptek provides to

26   the Debtor (the “Service Orders”). Attached hereto as Exhibit A are true and correct copies of

27   the MSA, and Service Orders, and are incorporated herein by this reference.

28

                                                      7
Page 22 of 60
                                              DECLARATION
Case 1:24-bk-10646-MB       Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                 Desc
                            Main Document     Page 23 of 60


1           5.      Payments under the MSA come due and payable 30 days after the invoice date.

2    See Exhibit A, Article 2.3.

3           6.      On December 1, 2023, the Debtor defaulted under the MSA for its failure to

4    timely pay invoices for pre-petition Services provided by Synoptek to the Debtor. There remains

5    a pre-petition sum due and owing by the Debtor to Synoptek in the amount of $15,302.18. The

6    pre-petition amount is calculated by taking the sum of Invoice 1238585, plus the first twenty-

7    one (21) days of Invoice 1245438 which is billing in advance for services rendered from April

8    1, 2023, to April 30, 2023. Attached hereto as Exhibit B are true and correct copies of the unpaid

9    pre-petition invoices, and are incorporated herein by reference

10          7.      Pursuant to Article 10.3, Movant has the right to terminate the MSA due to the

11   failure of Debtor to timely pay its invoices. See Exhibit A, Article 10.3.

12          8.      On April 22, 2024, Debtor, Synapse Financial Technologies, Inc. filed its Chapter

13   11 bankruptcy case, Case number 1:24-bk-10646-MB (the “Bankruptcy Case”).

14          9.      Pursuant to Article 10.4 of the MSA, it shall be deemed a material breach if the

15   Customer becomes insolvent or bankrupt, and the MSA may be terminated as a result of said

16   breach. See Exhibit A, Article 10.4.

17          10.     Movant has continued to provide post-petition Services to the Debtor in the

18   ordinary course of business in the same manner and under the same terms as had been the parties’

19   pre-petition ordinary course dealing, and has not been paid for such services. As of August 14,

20   2024, $39,855.70 is due and owing by Debtor to Synoptek for post-petition Services, which

21   continues to accrue. Despite repeated requests, the Debtor has also failed to pay post-petition

22   invoices for the services rendered under the MSA, in the ordinary course of business, since the

23   bankruptcy filing. Attached hereto as Exhibit C are true and correct copies of the unpaid post-

24   petition invoices, and are incorporated herein by reference.

25          11.     Debtor has continued to use two pieces of hardware identified as edge collectors,

26   at each of its locations in Los Angeles, and San Francisco, California. The edge device in Los

27   Angeles is a Gen3 rack mount. The edge collector in San Francisco is a Gen4 rack mount. Both

28   devices are custom builds utilizing SUPERMICRO 5019D-FTN4 chassis. Both edge collectors

                                                     8
Page 23 of 60
                                              DECLARATION
Case 1:24-bk-10646-MB       Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                Desc
                            Main Document     Page 24 of 60


  1   cost $1,500 each, and both are Synoptek owned equipment that were provided to Debtor as part
  2   of the ITaaS Site service, and should be returned to Synoptek. Attached hereto as Exhibit D is a
  3   true and correct copy of the ''New Logo" Dual Hybrid Cloud Hubs Service Order #006468
 4    document, evidencing the ITaaS Site service on page 5, incorporated herein by reference.
 5           12.     Synoptek is the owner of the hardware referenced above. The Debtor has
 6    possession of the hardware and has not relinquished possession of the same to Movant.
 7           13.     As of August 14, 2024, the total amount owed for pre-petition and post-petition
 8    Services is $55,157.88, plus attorney's fees, costs, and late payment service charges. The
 91   Termination Fee totals $62,072.15, calculated by multiplying the monthly recurring fee of
 10   $8,867.45 by the remaining seven (7) months of the MSA. See Exhibit A, Article 10.2.

 11          I declare under penalty of perjury under the laws of the United States of America, that
 12   the foregoing is true and correct and that this declaration was executed on August 14, 2024, at
 13
 14
 15
 16
 17
 18
 19
20
 21
22
23
24
25
26
27
28


                                            9
Page 24 of 60
                                       DECLARATION
Case 1:24-bk-10646-MB   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30   Desc
                        Main Document     Page 25 of 60




                          EXHIBIT A




Page 25 of 60
Case 1:24-bk-10646-MB                       Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                    Desc
                                            Main Document     Page 26 of 60

   §5
Synoptek· Master Services Agreement
                                      1-.,:0 b1ubvt..::� RJ
                                     111 lfl
                                     lr'\Uk. C•\tl.?ti(t
                                     ,���) 7"6•67X'




This Master Services Agreement including this agreement and any exhibits or attachments attached hereto (together "Agreement")
is by and between Synoptek, LLC ("Synoptek" or ·company'') and the individual and/or entity reflected on the signature line below
("Customer") for the purchase of contracted hardware and software (collectively, the "Product"), various professional services,
and/or managed services (together, "Services") and governs the Piugin iss relationship between Company and Customer and all
transactions between such parties. This MSA is effective as of 01 0 /2i 19          , 20_ (the "Effective Date") and shall remain
in effect until terminated in accordance with Article 10 below. Company and Customer shall sometimes be referred to herein as a
"Party" and together as the "Parties: In consideration of the mutual promises of the Parties and other good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby agree to the following:

ARTICLE ONE: DEFINITIONS                                                 1.7      Professional Services ("PS").           Professional
                                                                         Services are project-based services provided to Customer
1.1        Change Order. A Change Order is a document                    including: consulting, staff augmentation, application
which modifies a previously executed Service Order. A                    development, integration, design, installation, configuration,
Change Order is required when material changes or                        support, project management and other services performed
additional work are requested by Customer which may                      by Company's employees, agents, subcontractors,
cause an NRC to be incurred or an increase or decrease in                consultants and representatives, as detailed in a Service
the current MRC being charged to Customer. Company will                  Order.
detail the changes on the Change Order using the same or
similar methods to those used in the preparation of the                  1.8      SOW. A "SOW" is a document that details the
original Service Order. Once executed by both Parties, a                 professional services to be performed for Customer, or key
Change Order will become part of the Service Order to which              assumptions related to a MS. A SOW is issued as part of a
it relates. The Company may determine, in its reasonable                 Service Order.
discretion whether the requested changes require a new
Service Order as opposed to a Change Order.                              ARTICLE TWO: PROFESSIONAL SERVICES

1.2       Effective Date. The "Effective Date" as set forth In           2.1     Services. Under the terms of this MSA, Customer
the preamble to this MSA and as used herein, shall refer to              may choose to purchase PS where each project is initiated
the date upon which this MSA becomes binding on the                      by a separate SOW in a Service Order.
Parties. The "Term" shall be determined as set forth in
Article 10 below.                                                        2.2       Personnel. Company shall provide the necessary
                                                                         skilled personnel to perform the PS described in the
1.3       Managed Services {"MS"). Managed Services                      applicable Service Order. Customer reserves the right to
includes ongoing monitoring, maintenance, remediation                    request a change in the assigned personnel as required by
(problem resolution), administration, support or consulting              its business needs or as otherwise required to complete the
work performed by Company for Customer for a fixed                       PS. If such a change is requested by Customer, the
contract period with a defined scope. The specific terms of              Company shall use commercially reasonable efforts to
MS to be provided are contained in an MS Service Order as                accommodate such request and the Parties shall enter into
described below.                                                         a Change Order if, in the Company's reasonable discretion,
                                                                         such change constitutes a change in the nature of the skill
1.4      Service Order. A Service Order is a document that               level or skillset being provided.
defines the MS or PS to be performed by Company for
Customer and includes: the Service Order term ('Term·                    2.3      Invoicing and Payment for PS. Notwithstanding
usually specified in months), a list of the Services to be               the payment terms in Article 6 below, PS fees typically
provided, a detailed description of the Services, the NRC,               involve either a Fixed-Price fee or "Time and Materials" fee
the MRC, and any special terms or conditions associated                  ("T&M") or a combination of both, as defined in the
with the Service. The Parties may enter Into an unlimited                applicable Service Order. For Fixed-Price fees, Company
number of Service Orders under the terms of this MSA, each               shall invoice Customer upon completion of billable
of which will be subject to the terms of this MSA once                   milestones as defined in the applicable Service Order or at
executed by both Parties and shall reference this MSA as                 the end of each month based on the percentage of work
the governing terms and conditions.                                      performed. For T&M Service Orders, Company shall invoice
                                                                         Customer at the end of each month based on work
1.5      Monthl y-Recurring Charge {"MRC"). A monthly­                   performed, or as otherwise outlined in the individual Service
recurring fee for continual services rendered under the terms            Order. Ail such invoices shall be payable thirty (30) days
of a Service Order.                                                      from the date of invoice.

1.6        Non-Recurring Charge ("NRC"). A one•time,
non-recurring fee to (i) initiate a SeNice Order. also referred
to as a "Setup Fee" or "Transition Fee" or (ii) perform other
non-recurring Services.
Master Services A greement                                Confidential
Page 1 of 18
April 20, 2018
Synoptek, LLC


                                                                                    Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 26 of 60                                                                                                        EXHIBIT A
Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                      Desc
                                          Main Document     Page 27 of 60

� Services Agreement

ARTICLE THREE: MANAGED SERVICES                                          3.10       Customer Responsibilities. Customer shall
                                                                         support the Services of Company in all reasonable technical.
3.1        Services. Under the terms of this MSA, Customer               administrative, and commercial ways and shall provide
may choose to purchase MS, where each MS engagement                      Company with all documentation, statements, and
is initiated by a separate Service Order, as defined above.              credentials reasonably requested for Company to perform
                                                                         the Services. Customer shall also be responsible to satisfy
3.2      General Service Level Agreement ("GSLA"). If                    certain prerequisites before work by Company can begin as
purchasing MS, Customer acknowledges and hereby agrees                   set forth in the applicable Service Order. Company shall not
to be bound by Company's General Service Level                           be responsible for delays caused by Customer. In order to
Agreement ("GSLA") attached hereto as Exhibit B and                      ensure an effective partnership, Customer agrees to
incorporated herein by reference.                                        complete a quarterly Net Promoter Score survey upon
                                                                         Company request.
3.3      Services in General. The terms of this Article 3
shall apply to all Services unless otherwise specified in this           3.11    Related Hardware and Software. Customer
MSA.                                                                     understands and acknowledges that the fees for Services
                                                                         provided under this MSA are independent of any Product
3.4       Order Acceptance. A Service Order or Change                    purchased or leased by Customer whether or not such
Order is considered accepted by Company when the Service                 Products are purchased or leased in conjunction with
Order or Change Order, as is applicable, is returned to                  Company's provision of Services. If Customer purchases or
Customer via email, fax or mail countersigned by an                      leases any Product, it shall be subject the associated terms
Authorized Executive (as defined herein) of Company.                     and conditions set forth in this MSA.

3.5        Initial Term and Renewal. The Term of any                     3.12     Existing Network. The terms of all Service Orders
individual Service Order shall be set forth in such document.            are based on the Services being provided to Customer's
A Term shall automatically renew for additional twelve (12)              network and operating environment as such environment
month periods (which shall become the new Term) unless                   exists on the date when the Service Order is executed
written notice by either Party is provided to the other Party at         unless otherwise agreed to in the Service Order. Any
least thirty (30)i days in advance of the expiration of a Term.          updates to quantities of services by the Customer will
Unless otherw se specified in the applicable Service Order               automatically be reflected in the quantities invoiced by
or a related Change Order, when Customer and Company                     Company, once those changes are detected by Company.
agree to a Change Order, the term for such Change Order,                 Customer will provide advance written notice of any new
if longer than the then current Term of the applicable Service           systems deployed by Customer in order to ensure support
Order, shall automatically replace the then current Term of              coverage from Company. Any Customer requests made of
that Service Order.                                                      Company for new services or to make upgrades for
                                                                         Customer will require a Change Order or, in the Company's
3.6      Price Increases. At any twelve-month interval                   reasonable discretion, a new Service Order, and may
(month 12, 24, 36, etc.), all fees shall be subject to a price           impose additional NRC's and/or MRC's. Upgrades, unless
adjustment to account for increased cost of performance                  stated in the Service Order are not included in the scope of
over time. Any such adjustment shall not exceed the CPI per              Service. Requests outside of an executed Service Order
year based from the original pricing date and shall be at the            may be handled as a Change Order, new Service Order or
sole discretion of Company.                                              in another manner ii deemed appropriate by Company. Any
                                                                         equipment necessary for Company's performance of the
3.7         Scheduled Start Date. Any scheduled start for a              Services that is owned by Customer shall be the sole
Service Order, whether provided by Company in writing or                 responsibility of Customer. Any damages or delay caused by
orally, are estimates as to when the Services contemplated               the non-provision, failure or malfunction of Customer-owned
by that Service Order will be fully deployed and available for           equipment shall be the responsibility of Customer.
Customer use. Company cannot guarantee a date for full
deployment and shall therefore not be subject to any liability           3.13       Change in Delivery of Services. With thirty (30)
for its failure to meet any scheduled start date.                        day notice to Customer, Company reserves the right to
                                                                         change the systems used to deliver, view, access and utilize
                                                                         the Services as described herein that materially affect
3.8       Cancellation. Subject to the specific terms of this            Customer's systems. Those that do not materially affect
MSA, no Service Order may be cancelled before the end of                 Customer's systems may change at any time, without notice.
the existing Term.                                                       at Company's sole discretion. In addition, Company retains
                                                                         the right to change the specific functions offered by a Service
3.9       Changes. Changes to any Service Order may be                   or the Service itself.
made only upon the mutual written agreement of the Parties.
No changes or additions shall be implemented or acted upon               3.14   Acceptable Use Policy. If purchasing Services,
until both Parties execute the Change Order.                             Customer agrees to abide by Company's "Acceptable Use


Master Services Agreement                                 Confidential
Page 2 of 18
April 20, 2018
Synoptek, LLC



                                                                                     Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 27 of 60                                                                                                         EXHIBIT A
Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                          Desc
                                          Main Document     Page 28 of 60

� Services Agreement

 Polley" ("AUP") attached hereto as Exhibit A and
incorporated herein by reference.

3.15      Security. The internet is not a secure network.                ARTICLE FOUR: HARDWARE AND SOFTWARE
Company does not assume responsibility for loss or theft of
information transmitted over the Internet. As qualified by the           4.1       Acceptance. A written sales proposal provided by
foregoing, Company shall make commercially reasonable                    Company for sale of Product shall be considered only an
efforts to comply with the internal controls required to meet            offer for the sale of Products and shall be accepted by
or exceed any applicable industry standards, including but               Customer when Customer does any of the following,
not limited to: (i) building and maintaining a reasonably                whichever occurs first (i) signs a Service Order that includes
secure network, systems, and applications, and (ii) tracking             the sales proposal or; (ii) accepts the Products at the location
access.                                                                  where they were shipped; Products are deemed risk of loss
                                                                         transfers to Customer once product leaves the dock of the
3.16     IP Address Numbers and Domain Name. All                         manufacturer, distributor. or any other third-party
network IP Address numbers that may be required for the                  warehouse. Maintenance services provided pursuant to a
Services. shall be provided solely by Company, If Customer               binding Service Order are dellvered electronfcally and
leaves or terminates Company's Services, all network IP                  Customer's acceptance occurs once services are sent.
address numbers shall be returned to Company and will not                Where software cannot be delivered electronically (such as
be available for continued use by Customer. Company will                 bundled hardware and software, disks. tapes. etc.). ft is the
route Customer's domain name into its network. In the event              responsibility of Customer to notify Company prior to
Customer elects to have Company register a domain name                   acceptance.
on behalf of Customer, Company will do so with the
Customer's understanding that Company is not responsible                 4.2       Shipment. Products will ship directly from the
for the ownership, renewal, control and use of the domain                warehouse of the manufacturer of the Products. an
name. In addition to any and all fees that Company requires              authorized distributor of Company, or from Company's
from Customer to perform such registration services,                     Integration center (in any such case, "Shipping Point"). All
Customer will be responsible for any and all other fees due              Products are shipped F.O.B. Shipping Point, and all title, risk
and payable to a third party for such domain name services.              of loss, damage, or destruction to the Products shall pass to
                                                                         Customer as soon as the Products leave the Shipping Point.
3.17       Critical Risk Assessment Change Order. After                  Company reserves the right, in its sole discretion, to select
Services have been fully deployed, if in Company's expert                the means of shipment, Shipping Point, and routing.
opinion Customer's systems being supported by Company
become at risk with regard to Customer owned infrastructure              4.3         Returns. Returns are only granted for Products
that may be out of line with Company best practices in the               procured through Company, for the reasons listed below.
area of environment (including HVAC, power, bandwidth,                   and require compliance with the manufacturer's
operating systems, servers, etc.), security or data availability         requirements. Acceptance of a return is in the sole discretion
(backup and recovery), Company shall submit a Critical Risk              of Company and subject to acceptance of the return by the
Assessment Change Order that outlines the area of concern                manufacturer, where applicable. Neither physical
and suggest implementation measures to remediate the risk.               acceptance of returned Product, nor Company's assistance
Customer shall have the option to 1) accept the Change                   with attempts to return Product to the manufacturer shall be
Order in its entirety, 2) accept part of the Change Order or             deemed Company's acceptance of a return. No software
3) reject the changes requested. In the event that the Critical          may be returned. Company may impose a twenty-five (25%)
Risk Assessment Change Order is partialty accepted or                    restocking fee on all returns for any reason other than those
rejected, Company may be alleviated from certain contract                listed in (i)-(iv) below. Refunds will not be given, but credits
requirements as outlined in the Critical Risk Assessment                 will be applied on accepted returns. All returns require the
Change Order or be allowed to charge fees as outlined                    filing of a Return Merchandise Authorization ("RMA") which
therein to meet the Agreement requirements or both.                      is available on Company's website (as amended from time
                                                                         to time).
3.18      OecommissionlTransition Services and Fees.
Unless specifically called out in a Service Order no Services                  (i) Damaged Products. RMA must be filed within five
include any decommission or transition services at the end                     (5) days from date of the Company's receipt of the
of any Term. If, at the end of any Term, decommission or                       damaged Products.
transition services are desired by Customer, Customer shall
work with Company to determine what services if any are                        (ii) Breach of Warranty. RMA must be filed within five
needed and Company shall propose decommission and/or                           (5) days of the breach of all applicable warranties, if any.
transition services as pan of a new Service Order which shall                  MANUFACTURER'S RETURN POLICY IS NOT A
include all associated fees at then current rates if required.                 WARRANTY.




Master Services Agreement                                 Confidential
Page 3 of 18
April 20, 2018
Synoptek, LLC



                                                                                      Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 28 of 60                                                                                                            EXHIBIT A
Case 1:24-bk-10646-MB                      Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                           Main Document     Page 29 of 60

� Services Agreement

    (iii) Errant Products. If Customer receives shipment of               5.3     Limitation of Liability.    UNDER NO
    Products over the quantity ordered, or Products that                  CIRCUMSTANCES SHALL COMPANY, OR ITS OWNERS,
    were not ordered, Customer shall notify Company and                   DIRECTORS, OFFICERS, EMPLOYEES OR ANY OTHER
    return such Products with manufacturer's external seal                AGENTS OR REPRESENTATIVES, BE LIABLE FOR ANY
    intact within five (5) days of Customer's receipt thereof.            INDIRECT, INCIDENTAL, CONSEQUENTIAL, SPECIAL,
    (iv) Upgrades. If, pursuant to any Service Order, the                 PUNITIVE, OR EXEMPLARY DAMAGES, INCLUDING BUT
    Products purchased by Customer constitute an                          NOT LIMITED TO LOSS OF BUSINESS, REVENUE,
    upgrade, Customer may return the original Product in                  PROFITS, USE, DAT A OR OTHER ECONOMIC
    accordance with the manufacturer's requirements for                   ADVANTAGE (EVEN IF THEY HAVE BEEN ADVISED OF
    return of the same. If Customer fails to return the original          THE POSSIBILITY OF SUCH DAMAGES) WHETHER THE
    Product within thirty (30) days of the date of receipt of             ALLEGED LIABILITY IS BASED ON CONTRACT, TORT,
    the upgrade Product, then Customer will not be eligible               NEGLIGENCE (INCLUDING NEGLIGENCE ON THE PART
    to receive a credit for the original Product and shall pay            OF THE COMPANY, ITS AFFILIATES, SUBSIDIARIES,
    the full purchase price for the upgrade.                              OFFICERS, DIRECTORS, EMPLOYEES OR AGENTS),
                                                                          OR ANY OTHER BASIS, AND EVEN IF SUCH DAMAGES
4.4      cancellations. Company has the right to cancel                   WERE FORESEEABLE, ARISING FROM THE USE OF OR
any orders placed for any Products listed at an incorrect                 INABILITY    TO   USE   CUSTOMER'S    SYSTEMS,
price or shown with incorrect information, whether due to                 COMPONENTS, OR BOTH; OR THAT RESULT FROM
typographical error or otherwise, whether or not such errors              MISTAKES, OMISSIONS, INTERRUPTIONS, DELETION
were made by Customer or Company, and whether or not                      OF FILES, ERRORS, DEFECTS, DELAYS IN OPERATION,
Customer's order was accepted. Upon any such                              TRANSMISSION, OR ANY FAILURE OF PERFORMANCE
cancellation, if the Products have not shipped, the Company               OR ANY BREACH OF THIS AGREEMENT BY THE
will credit Customer for any fees owed. Upon any                          COMPANY. IN NO EVENT SHALL COMPANY'S LIABILITY
cancellation of Products that shipped, Customer shall return              FOR BREACH, DEFAULT OR ANY FAILURE TO
all Products unopened or, if opened, undamaged, within five               PERFORM EXCEED THE TOTAL AMOUNT PAID BY
(5) business days of the Company's written notification to                CUSTOMER UNDER THE APPLICABLE SERVICE
Customer of such cancellation, and upon such return                       ORDER DURING THE TWENTY FOUR (24) MONTHS
Company will issue a credit to Customer's account.                        PRECEDING THE CLAIM.

ARTICLE FIVE: WARRANTIES; LIABILITY                                       5.4         Customer Equipment and Network Security. All
                                                                          wiring, networking, physical security and environmental
5.1       PS and MS Warranty. Company represents and                      controls within Customer's facilities shall be the
warrants that: (i) the Services delivered to Customer                     responsibility of Customer unless otherwise specified In this
pursuant to each applicable Service Order shall conform and               MSA. Any equipment necessary for Company's
perform in all material respects to the specifications                    performance of Services or installation of Product, which is
described in such Service Order; (ii) Company shall perform               owned by Customer, shall be the sole responsibility of
all Services hereunder consistent with or exceeding                       Customer. Company will perform Services and install
customary industry standards; and (iiQ in providing the                   software on Customer equipment approved by Company.
Services. Company shall not knowingly Infringe upon the                   Non-approved equipment will be handled on a case-by-case
intellectual property rights of Customer or any third party. In           basis as specified by Company. Company provides no user
order to receive any warranty remedies, Customer must                     access security with respect to any of Customer's facilities
report deficiencies in the Services within thirty (30) days of            or facilities of others. Customer shall be responsible for user
completion of those Services. For any breach of the above                 access, security and network access on Customer facilities.
warranties, Customer's exclusive remedy, and Company's                    Company will reasonably assist in network security breach
entire liabillty, shall be the re-performance of the Services. If         detection or identification, but shall not be liable for any
Company is unable to perform the Services as warranted,                   inability, failure or mistake in doing so. customer agrees to
Customer shall be entitled to a credit for the fees paid to               indemnify, defend and hold Company harmless for any claim
Company for the deficient Services; refunds will not be                   arising out of any breach of user or network access security
given.                                                                    and/or the security of Customer or third-party facilities,
                                                                          caused by Customer or Customer's third parties. Any
5,2     Hardware and Software Warranty. Warranty and                      software owned by Customer shall be the responsibility of
warranty information, if applicable, are provided by the                  Customer. Customer shall be responsible for any software
manufacturer of the Products, which shall pass to the                     licensing required by the software licensing agreement set
Customer upon acceptance of the Products. While the                       by the software manufacturer. Any damage or delay caused
Company tries to ensure the accuracy and completeness of                  by the non-provision or failure or malfunction of Customer
its Products, the Company is not responsible for                          owned hardware, software or other equipment. shall be the
manufacturer's errors.                                                    responsibility of Customer.




Master Services Agreement                                  Confidential
Page 4 of 18
April 20, 2018
Synoptek, LLC



                                                                                      Doc ID: 278eb6afd2812c63468417d9bel3843f048b1 be2

 Page 29 of 60                                                                                                          EXHIBIT A
 Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                       Desc
                                           Main Document     Page 30 of 60

� Services Agreement

5.5      Connection Costs and Responsibilities. Unless                  to any sates, use, excise, value-added taxes ("VAT"),
specified in a written document executed by Company and                 consumption, and other taxes and duties assessed on the
Customer, the Customer is responsible for the cost of the               services. All Services under this Agreement are deemed
telecommunications line(s) and routing hardware that                    taxable unless Customer provides Company with a tax
connects a Customer's office or user to the Company's                   exemption certification acceptable to all relevant taxing
network. All such costs and associated terms and conditions             authorities prior to delivery.
required by the telecommunications carrier to perform such
services are in addition to the Services and shall be directly          6.5        Late Payments/Disputes. A service charge equal
between the Customer and telecommunications provider.                   to the lesser of 1.5% per month (accruing monthly), or the
                                                                        maximum rate allowed under applicable law (whichever is
                                                                        less), will be assessed on all amounts not paid or Disputed
                                                                        (as described below) on or before the Due Date until the
                                                                        same are paid. If within thirty (30) days after the Due Date,
                                                                        Customer fails to pay or Dispute any invoice, Company may,
                                                                        do any or all of the following: (I) refuse to accept any
ARTICLE SIX: GENERAL PAYMENT TERMS                                      additional orders for Services or Product; (ii) restrict physical
                                                                        access or access per GSLA (as defined below); or (iii)
6.1      General Terms. Except for any shorter duration                 suspend performing Services or further shipment of Product
specifically set forth in this MSA or any Service Order all             until the Customer has paid all undisputed past due amounts
invoices are due and payable by Customer net thirty (30)                and charges related thereto.           During any period of
days after the involce date (the "Due Date").                           suspension, no Service Interruption (as defined in the GSLA)
                                                                        shall be deemed to have occurred and, more generally, the
6.2        Payment. Any Setup Fee is invoiced when the                  Company will have no liability to Customer for delays or
applicable Service Order or Change Order has been                       damages incurred by Customer or any third party because
executed by both Parties. Payment of the NRC is due and                 of such suspension. In addition, the Customer is responsible
payable upon receipt of the invoice as set forth in such                to pay all reasonable collection costs incurred by Company
invoice. In the event that the scheduled start date for a               in its efforts to collect overdue invoices. In the event
Service Order that involves MRC does not fall on the first              Customer desires to dispute any charge on an invoice,
calendar day of a month, Company will calculate the pro­                Customer must provide written notice of such disputed
rated MRC for the partial first-month's service. Such prorated          amount prior to the date that is thirty (30) days after the Due
portion of the first month's MRC will be included in the                Date of the applicable invoice (a "Dispute"). In the event of a
Customer's first MRC invoice. Thereafter, Company will                  Dispute, only the disputed portion of the invoice may be
deliver invoices for MRC on a monthly basis in advance. If              withheld from payment and the undisputed portion must be
any government authority requires Customer to withhold part             paid on or before the Due Date. Customer will exercise
of any fees payable to Company hereunder, those fees will               reasonableness in initiating any Dispute. No interest will
first be increased so that after diversion of that withholding          accrue on the invoiced amount specifically related to the
to the relevant authority Customer remits to Company the full           Dispute until the Parties reach a mutually acceptable
amount which would have been payable in the absence of                  resolution, provided, however, if the Parties have reached
such withholding.                                                       such a resolution and Customer has not made the agreed
                                                                        upon payment per such resolution within sixty {60) days after
6.3       Payment for Incidental Expenses. For any                      the Due Date, the customer shall be deemed In default
Services where Company incurs travel, lodging, meals and                hereunder.
other similar costs and expenses, including, without
limitation, auto mileage charges, and such costs and                    6.6       Invoice Pricing.
expenses are either (l) referenced in the applicable Service
Order, or (ii) requested by Customer, Customer shall                          (i). Volume. Any volume pricing discounts specified in
reimburse Company for such costs expenses incurred by the                     any Service Order or Sales Proposal are subject to
Company (in any such case, "Regular Travel Costs'). Travel                    Customer's continued purchase of Service or Product,
costs other than Regular Travel Costs shall be reimbursed                     as is applicable, at the levels and pursuant to the terms
by Customer provided that Customer has preapproved                            set forth in the applicable service Order. In the event
them, in writing, Including without limitation, via email. Travel             that Customer falls below the levels mentioned in the
and other related expenses shall be billed to Customer once                   immediately prior sentence, Company's list pricing shall
incurred and in no event more than once per month.                            apply to all Products and Services.
6.4       Taxes. All prices are based on U.S. Dollars and all                 (ii). Third Partv Price Increases. If, during the then
payments shall be made in U.S. Dollars. Customer shall be                     current Term, a third party provider used by Company
solely responsible for the payment of all taxes, including any                to deliver the MS increases their pricing by 5% or more
interest and penalties, in connection with any payments                       to Company, Company may immediately increase
made pursuant to this Agreement, including but not limited


Master services Agreement                                 Conf1dem1al
Page 5 of 18
April20,2018
Synoptek, LLC



                                                                                     Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

  Page 30 of 60                                                                                                         EXHIBIT A
 Case 1:24-bk-10646-MB                    Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                   Desc
                                          Main Document     Page 31 of 60

� Services Agreement

      Customer price(s) to account for that cost increase,         Party to any regulatory, law enforcement agency or other
      dollar for dollar, with no fee.                              Government third party if it is requested to do so in writing,
                                                                   provided that the Party required to make such a disclosure
ARTICLE SEVEN: EXPORT COMPLIANCE                                   uses reasonable efforts to give the other Party reasonable
                                                                   advance notice of such required disclosure in order to enable
7.1       Compliance.        Customer understands and              the other Party to prevent or limit such disclosure.
 acknowledges that United States law and, in particular, the
 United States Export Administration Regulations ("EAR")           8.2        Exclusions. Confidential Information shall not
 govern the sale, export or other disposition of the Products      include any information that (i) prior to the effective date,
and related technical data that are the subject of this            has been disclosed in publicly available sources of
 Agreement. Customer therefore agrees to adhere to all             information. (ii) is, through no fault of either Party, hereafter
provisions of the EAR and the terms, conditions, required          disclosed in publicly available sources of information, (iii)
procedures, and documentation of any export licenses or            prior the effective date was in the possession of the
other approvals issued for the Products and related technical      disclosing Party without any obligation of confidentiality, or
data. Specifically, Customer agrees that it will not participate   (iv) has been or is hereafter rightfully acquired from a third
in the transfer by any means of any Product or technical data      party who itself was not in breach of confidentiality
acquired from Company: (i) in violation of the EAR or any          restrictions and the disclosure is authorized by the third
order or license issued under its provisions, or (ii) with the     party.
knowledge or with reason to know that a violation of the
EAR, an order or a license has occurred. Is about to occur,        8.3       Remedies. Each Party acknowledges that any
or is intended to occur with respect to any such Product or        breach of the provisions of Article 8.1 shall result in serious
technical data. In the event that any license or approval is       and irreparable harm to the non-breaching Party for which
required in order for Company to perform its obligations           the non-breaching Party cannot be adequately
under this Agreement Company agrees to use its best efforts        compensated. Each Party agrees, therefore, that in addition
in obtaining such license or approval. Customer agrees to          to any other remedy that the non-breaching Party may have
fully cooperate with and support Company in obtaining any          in law or equity, the non-breaching Party shall be entitled to
required license or approval and in maintaining Company's          seek specific performance of the obligations in Article 8.1 by
strict compliance with the EAR, including, but not limited to,     the breaching Party by way of an injunction.
executing any required documents or providing any required
information.                                                       8.4       Non-Solicitation of Personnel.           During the
                                                                   Effective Date of this MSA, and for a period of one (1) year
7.2        Violations. Company shall be relieved of all            thereafter, neither Party shall, either directly or indirectly,
obligations to Customer if Customer violates the EAR or the        employ or solicit for employment any employee of the other
provisions of any export license or approval, or if such export    Party or any of its affiliates with whom the hiring Party had
licenses or approvals are not issued, are suspended or             contact or became aware of during the business relationship
revoked by the United States Government, or if Customer            governed by this Agreement; provided, however, that this
fails to comply with the other requirements of Article 7.1 or      prohibition will not apply to advertisements of open positions
this Article 7.2.                                                  that are made public by either Party in a manner which does
                                                                   not specifically target the employees of the other Party and
ARTICLE    EIGHT:             CONFIDENTIALITY;           NON-      the hiring of candidates who respond to such
SOLICITATION                                                       advertisements. If a Party breaches this Article 8.4, the
                                                                   breaching Party shall pay to the non-breaching Party a "hire­
8.1       Duty to Protect. By virtue of this Agreement the         away fee" of ninety percent (90%) of the first year's total
Parties may have access to information that is confidential        compensation package offered by the breaching Party to the
or proprietary to the other Party ("Confidential Information").    employee. Payment to the non-breaching Party will be made
Company and Customer agree to use reasonable                       on date of hire. If a Party's employee voluntarily resigns and
commercial care (the same being not less than that                 begins working for the other Party within one hundred and
employed to protect such Party's own proprietary and               eighty (180) days of the resignation, the hiring Party agrees
confidential Information) to safeguard each other's                to pay the other Party a fee of ninety percent (90%) of the
proprietary and confidential information and to prevent the        first year total compensation package offered by the hiring
unauthorized use or disclosure thereof. Company considers          Party to the employee.
this Agreement and other documents related hereto (and the
contents in all of the foregoing, including without limitation,    ARTICLE NINE: OWNERSHIP RIGHTS AND LICENSES
pricing and service descriptions) to be proprietary and
confidential, and these shall not be disclosed to anyone by        Unless otherwise provided in the applicable Service Order,
Customer without the prior written consent of Company              all specifications, documentation, ideas, know-how,
except to those employees of Customer who need this                technique, processes, developments, inventions, software.
information in connection with their job. Each Party may           script, code, tool, and other intellectual property and work
disclose proprietary and confidential information of the other     product created for the Services (collectively, "Company IP")


Master Services Agreement
Page 6 of 18
Aprll20,2018
Synoptek, LLC




                                                                               Doc ID: 278eb6afd2812c63468417d9bef3843f048b1be2

  Page 31 of 60                                                                                                    EXHIBIT A
 Case 1:24-bk-10646-MB                    Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                          Desc
                                          Main Document     Page 32 of 60

� Services Agreement

shall remain the property of Company; however, Company                   such Service Order had not terminated. If Company is
hereby grants Customer an irrevocable (during the Term in                providing T&M Services (or other hourly services), with
which the Services are being provided or as otheiwise                    respect to such Services, the Termination Fee will be the
specifically set forth in a specific Service Order), worldwide,          reasonable value of Company's services performed up to
royalty-free, non-exclusive, nontransferable right and license           the date of termination, which is presumed to be the hours
to use such Company IP in support of Customer's use of the               worked at the rate specified, up to the last completed
Services. Company IP does not include any Customer                       milestone per the applicable Service Order. The Termination
owned intellectual property. The rights granted with respect             Fee recognizes that Company has invested substantial
to the Company IP in this Article 9 do not extend to any                 resources in order to provide Services to Customer during
parent, subsidiary or affiliate of Customer or to any other              the Term. If Customer chooses to terminate for convenience,
individual or entity except for Customer's employees with the            Company will make commercially reasonable efforts to
need to use the Company IP for performance of the work for               provide Customer its data and messaging at a reasonable
Customer. Except to the extent reasonably necessary for                  charge.
archiving, back-up, and disaster-recovery purposes,
Customer shall not make copies of Company IP without                     10.3     Termination for Breach and Remedies. Upon
Company's prior wrinen consent. Upon termination of this                 material breach of this MSA, any Service Order, or Service,
MSA for any reason or in any manner, or upon the request                 this MSA, applicable Service Order or Service may be
of Company, Customer agrees to deliver promptly to                       terminated by either Party immediately and upon written
Company all such documents, whether in written, graphical,               notice provided that the violation is not remedied within thirty
electromagnetic or any other form, together with any other of            (30) days of delivery of the notice. Customer has the right to
Company's property then in Customer's possession, except                 only terminate the breached Service, rather than all Services
as Customer may be required to retain, and only to such                  associated with this Agreement or any Service Order. Upon
extent, based on applicable law or regulation by prior written           termination of any Service Order except as otheiwise
approval, and in its sole and absolute discretion, Company               provided for in this MSA, the obligations of either Party to the
may allow Customer to retain. Customer grants to Company                 other under all existing Service Orders or non-breached
an irrevocable, worldwide, royalty-free, non-exclusive,                  Services on a Service Order that has a breached Service,
nontransferable right and license to use any data or software            shall continue in effect as though this MSA had not been
supplied by Customer and not otheiwise covered by this                   terminated until such Services are completed and all
Article 9 for the purpose of performing the Services. Nothing            Products delivered and paid for a specific Service Order or
in this Article 9 shall be construed to grant Company                    Service within a Service Order. With respect to an asserted
additional rights in such data or software. Without limiting the         breach by Company for its failure to achieve promised
generality of other terms of this Article 9, Customer will not           Service standards, Customer may terminate the applicable
modify, create derivative works from or reverse-engineer                 Service only if Company fails to achieve Service standards
Company IP.                                                              for two (2) consecutive months, provided, however, that
                                                                         Customer provides Company with written notice detailing the
                                                                         manner in which such Services have failed to meet the
ARTICLE TEN: TERM AND TERMINATION                                        established standards and Company fails to commence
                                                                         performance of the Services up to such standards prior to
10.1      Term. The Term of any Service Order shall be                   the end of the second month.
stated in the individual Service Order. The MSA term shall
continue in full force and effect starting on the Effective Date         10.4       Terminations for other causes. It shall be
and continuing until the earlier of (i) the date that all                deemed a material breach by customer if it becomes
obligations of the Parties under all Service Orders have been            insolvent or bankrupt, admits in writing its inability to pay its
completed or (ii) either Party terminates pursuant to the                debts as they become due or makes an assignment for the
terms and conditions herein. In order to protect the                     benefit of creditors; or the applies for or consents to the
continuity of Services for customer, if for any reason any               appointment of any receiver, trustee or similar officer for it or
Term ends and services are needed to continue as agreed                  for all or any substantial part of its property; or the institutes
to between the Parties, the Term shall automatically become              any bankruptcy, insolvency, reorganization, moratorium,
month-to-month and all pricing shall be subject to a 20%                 arrangement, readjustment of debt, dissolution, liquidation
surcharge.                                                               or similar proceeding relating to it under the laws of any
                                                                         jurisdiction, or any such proceeding is instituted against it
10.2     Termination for Convenience.             Except as              and is not dismissed within sixty (60) days; or any judgment,
otheiwise provided in this Agreement, Customer shall not                 writ, warrant or attachment or execution of similar process is
terminate any Service Order until the expiration of the                  issued or levied against a substantial part of its property and
applicable Term except upon payment of a "Termination                    remains unsatisfied for sixty (60) days; or Dissolves,
Fee." Subject to this Article 10.2, the Termination Fee shall            liquidates or otherwise terminates its existence as an entity,
comprise all amounts accrued prior to such termination, plus             or consolidates with or merges with or into any entity which
the value of the unpaid balance of the aggregate NRC, MRC                is a direct competitor of Company or sells, leases or
and all other fees, and costs incurred, for the duration as if           otherwise disposes of all or substantially all of its assets to a


Master Services Agreement                                 Confldential
Page 7 of 18
Aprll20,2018
Synoptek, LLC



                                                                                     Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 32 of 60                                                                                                            EXHIBIT A
Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                      Desc
                                          Main Document     Page 33 of 60

� Services Agreement

direct competitor of Company or incurs a substantial amount              settled by mandatory arbitration, to be held In Orange
of indebtedness other than in the ordinary course of its                 County, California, in accordance with the rules of the
business except for transactions which do not result in the              American Arbitration Association and the decision of the
acquisition of an entity or business which is a competitor of            arbitrator(s) shall be binding on the parties thereto. The
Company, in each case whether in a single transaction or in              Parties sharing equally the costs of arbitration; provided,
a series of related transactions Customer or the person or               however, the prevailing Party in any arbitration shall be
persons in control of Customer shall (or shall threaten or               entitled to recover its reasonable legal fees and costs.
propose to) sell. assign, part with or cease to carry on its             Nothing in this Article 11.4 shall prohibit either Party from
business or that of its business relating to computing                   bringing provisional or ancillary actions to obtain remedies
services.                                                                from a court of competent jurisdiction before, after, or during
                                                                         the pendency of any arbitration, including, without limitation
ARTICLE ELEVEN: MISCELLANEOUS                                            to enforce a Party's rights under Article 8 of this MSA, and
                                                                         the exercise of any such remedy does not waive either
11.1     Relationship of Parties. Company's relationship                 Party's right to arbitration.
with Customer is that of an independent contractor and
nothing in this Agreement will be construed to create a joint            11.5     Waiver. The waiver by either Party of any default
partnership, joint venture, or employer-employee                         or breach of this Agreement shall not constitute a waiver of
relationship.                                                            any other provision of this Agreement.

11.2       Customer's Representations.               Customer            11.6      Assignment.        Customer shall not assign or
represents and warrants to Company that: (i) Customer will               transfer this MSA or any Service Order or other rights or
assure that all persons accepting the Products on behalf of              obligations related to this MSA, or any of the rights Customer
Customer, will be duly authorized by all necessary corporate             obtains in the Products, without in any such case, prior
procedures or other action of Customer; (ii) Customer's                  written consent of the Company. Consent will not be
execution of the MSA will not violate any provision or law of            unreasonably delayed or denied if assignment, transfer, or
its governing, organizational documents, or result in the                sublicense of the rights is to a reputable (as determined in
breach of any agreement to which the Customer is a party;                the Company's sole discretion) individual or entity that
(iii) Customer will assure that all persons executing a Service          Company should not, in its reasonable discretion, expect to
Order or Change Order will be duly authorized by all                     enter into a separate MSA and purchase its own Products
necessary corporate procedures or other action by                        and Services. To the extent that an approved assignment by
Customer; and (iv) Customer is the end-user of the Products              Customer occurs, the terms and conditions of this MSA and
and Services. Customer acknowledges and agrees that                      all related documents shall be binding upon the successors
Company's performance is dependent on Customer's timely                  and assigns of the Parties hereto.
and effective satisfaction of all of Customer's responsibilities
hereunder and timely approvals by Customer. Company is                   11.7     Governing Law.          This Agreement shall be
entitled to rely on all approvals of Customer in connection              construed under and governed by the laws of California
with the products provided hereunder. Customer further                   excluding any conflict of laws principles that would require
acknowledges and agrees that Customer may have to                        the application of the law of another jurisdiction.
comply with other terms and conditions apart from those
hereunder which may be required by third parties with whom               11.8     Severability. If any part of this Agreement shall be
Company conducts business.                                               held invalid or unenforceable, the remaining provisions of
                                                                         this Agreement will remain in full force and effect.
11.3       Notices. All notices required or permitted to be
given hereunder shall be in writing and shall be deemed                  11.9      Entire Agreement and Amendment                 This
effectively given: (i) upon personal delivery to the Party to be         Agreement shall constitute the complete and exclusive
notified; (ii) when sent by confirmed facsimile if sent during           agreement between the Parties respecting the subject
normal business hours of the recipient, if not, then on the              matter. Except as set forth herein, this MSA may not be
next business day; (iii) three (3) business days after having            amended, terminated or superseded except by an
been sent by registered or certified mail, return receipt                agreement in writing executed by the Parties. This MSA
requested, postage prepaid: or 0v) one (1) business day                  supersedes all previous agreements between the Parties,
after deposit with a nationally recognized overnight courier.            whether oral or written, regarding the Services to be
All communications shall be addressed to the parties at their            provided and Products to be sold hereunder.
respective addresses set forth on the signature page of this             Notwithstanding 11.14, the terms of any Service Order can
MSA. Either Party may change the address to which notices                take precedence over this MSA with respect to that particular
or other communications shall be sent or delivered by giving             Service Order, if and only if, such Service Order specifically
advance written notice to the other party.                               acknowledges the conflicting provision and contains an
                                                                         express provision over-ruling it. The Company expressly
11.4      Arbitration. Any controversy, or claim arising out             rejects all terms and conditions set forth on any Customer's
of, or related to this Agreement, or breach thereof, shall be            PO or other documentation which are contrary to, or in


Master Services Agreement                                 Confldentral
Page 8 of 18
April20,2018
Synoptek, LLC



                                                                                    Doc ID: 278eb6afd2812c63468417d9bef38431048b1 be2

 Page 33 of 60                                                                                                         EXHIBIT A
Case 1:24-bk-10646-MB                       Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                      Desc
                                            Main Document     Page 34 of 60

             Services Agreement
addition to, or which in any way modify any of the terms and               Customer's real property and further grants Company a
conditions contained in this MSA or in any Service Order.                  license to provide the Services set forth in any Service Order
Company, at its sole discretion , may elect to accept changes              issued hereunder, within the premises described therein.
or requests related to Services or Product from                            With respect to Services to be performed for Customer on a
representative(s) of the Customer via oral or emailed                      Product delivered to property not owned by Customer, the
direction from Customer's employees, representatives and                   Customer will secure , at its own cost, prior to the
agents who have acted on behalf of Customer with respect                   commencement of any Services or delivery of P,oduct, any
to this MSA or a particular Service Order. Customer agrees                 necessary rights of entry, licenses, permits or other
to be responsible for fees and costs incurred by Company                   permission necessary for Company to provide Services.
as a result of these Customer request(s). In the event that                Company shall not be liable for delay in performance or
Company accepts oral changes, Customer and Company                         nonperformance of any term or condition of this Agreement,
agree to memorialize these changes with a signed written                   directly or indirectly, resulting from denial to Company ot the
agreement or an acknowledgement email or fax between                       required access to Customer's systems and components
Company and an Authorized Executive of the Customer                        thereof, or denial to Company of the required access to
within seven (7) days of Company's request for such a                      Customer's personnel or premises pursuant to this
written agreement or acknowledgement; provided , however,                  Agreement essential for completion of the Services.
if Company has started any work or begun the process of
ordering any Product, Customer shall be bound. Any such
agreements or acknowledgements will be a Change Order                      11.13 Public Release of Information. Company shall
or new Service Order.                                                      n_ot have the right to use Customer's name and the general
                                                                           nature of the services provided in any listing of Company's
11.10 Force Majeure. Neither Party shall be liable for                     clients for external communications and business
any loss or damage, for any failure or delay in delivery due               development purposes without rior written consent
to causes beyond its contro l , including, but not limited to, fire,       Company will not use Customer's logo without prior written
acts of God or the public enemy, terrorist act, or acts of                 consent from Customer.
governmental bodies or agencies.
                                                                           11.14 Headings. This MSA and all documents related
11. 11 Contacts and Authorized Executive. On each                          thereto are subject to and have been negotiated by the
Service Order the Customer and Company shall designate                     Parties and no provisions shall be construed strictly against
one or more Authorized Contact Person(s) and one or more                   either Party. The captions, headings, articles and sections
"Authorized Executives." The Authorized Contact Person(s)                  are for convenience only and do not in any way limit or
shall be the primary points of contact for administration of               amplify any term or provision hereof.
the project addressed in such Service Order.              The
Authorized Executive shall be, subject to the Company's                    11.15 Order of Precedence. Any inconsistency in this
rights in Article 11.9, the only person authorized to bind the             Agreement or any documents associated with this
Company or the Customer, as the case may be, with respect                  Agreement shall be resolved by giving precedence in the
to such Service Order. If during the Term of such Service                  following order:
Order, prior to when all obligations thereunder a complete, a
Party wishes to change the Authorized Contact Person(s) or                      D   Terms of this Agreement
an Authorized Executive, that Party shall notify the other                      D   Terms of a Service Order or Change Order
Party In writing of the name, address, email and telephone                          (excluding terms incorporated by this Agreement)
numbers of the new Authorized Contact Person(s)                                 O   Terms of a Statement of Work (if any) associated
Authorized Executive.                                                               with a Service Order or Change Order
                                                                                a   Other terms incorporated speciflcally into a Service
11.12 Access by Company.                Where access to                             Order or Change Order
Customer's premises Is necessary due to me nature of
Services to be performed or Product delivered , Customer will
coordinate with Company to provide ingress and egress over


      ACKNOWLEDGMENT
      The Parties have signed below to indicate their acceptance of the terms and conditions of this Agreement.

         Synoptek, LLC:                                                    Customer:
                                                                                       Synapse Financial Tech nologies, Inc.
                   f,. : - iJe >-l-ra �
         Name:                                                             Name:
                                                                                       �::mk�et Path�lc
         Title:
                   C,o                                                     Title:
                                                                                       CEO

Master Services Agreement                                    Confldenual
Page 9 of 18
April 20, 2018
Synoptek. LLC



                                                                                       Ooc I D : 278eb6afd281 2c634684 1 7d9be!3843f04Bb1 be2

 Page 34 of 60                                                                                                           EXH I B IT A
Case 1:24-bk-10646-MB               Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                   Desc
                                    Main Document     Page 35 of 60

              Services Agreement

     Date:                                              Date:      01/09/2019
                                                        Signature�MK uf fM
     Signature:                                                                    Ao.-K
     Address                                            Address tor Notices:
     Attn: ,.,_,,..,,.,...,.,
     4      . arkcenter Blvd, Suite 300                  101 2nd St, Suite 1500, San Francisco, CA 94105
     Boise, ID 83706
     Phone: 208.422.9125                                 CC: legal@synapsefi.com
     Fax: 949.241.8690




  Master services Agreement                     Confidential
  Page 10 of 18
  April 20, 2018
  Synoptek, LLC



                                                                  Doc ID: 278eb6afd2812c63468417 d9bef3843f048b 1 be2

Page 35 of 60                                                                                  EXHIBIT A
  Case 1:24-bk-10646-MB                        Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                            Desc
                                               Main Document     Page 36 of 60

  Ms Services Agreement

                                                                   Exhibit A
                                                      Acceptable Use Policy ("AUP")
1. Introduction. This Acceptable Use Policy ("AUP") is                        or posting any material that infringes any copyright. trademark,
designed to help protect customers and the internet community                 patent, trade secret, or any other proprietary right of a third
from fraud, abuse of resources, and irresponsible or illegal                  party, including, but not limited to, the unauthorized copying of
activities. The Company makes no guarantee regarding, and                     copyrighted material, incorpora1ing a lhird party's trademark
assumes no liability for the security and integrity of, any data or           within an email address without the prior authorization of the
information the Customer or its users transmits via the service               trademark owner, the digitization and distribution of
or over the Internet, including any data information transmitted              photographs from magazines, books, or other copyrighted
via any server designated as "secure." As a service provider, It              sources. and the unauthorized transmittal of copyrighted
is not practical for the Company to monitor the content of                    software.
information passing through its network. The Company                        • Denial of Service: Engaging in any activity that will interfere or
exercises no control whatsoever over the content of any                       attempt to interfere with the service of any other user, host or
information passing through our network and is not responsible                network on the internet.
for damages customers may suffer for any reason from such                   • Distribution of Viruses. Worms, Trojan Horses or Other
data. Any persons or organizations, including the Company's                   Destructive Activity that Compromises Security: Intentional
customers, who publish material or information made                           distribution of software that attempts to and/or causes
accessible through the Company's networks are solely                          damage or annoyance to persons. data. and/or computer
responsible for the content of such material and information, and             systems, service or equipment, including, without limitation,
are solely responsible to know and comply with the laws                       using or distributing. Internet viruses. worms, Trojan Horse
applicable to the publication of such materials and information.              programs, password guessing programs, decoders, keystroke
The Company will cooperate with legal authorities in the                      loggers, cracking tools, packet sniffers, flooding a network,
investigation of any suspected criminal or civil infringements.               encryption circumvention devices or unauthorized port
Capitalized terms not otherwise defined herein shall have the                 scanning.
meanings ascribed to such terms as are set forth in the Master              • Forging Headers: Forging or misrepresenting any message
Services Agreement to which with AUP Is attached.                             header, in part or whole. of any electronic transmission,
                                                                              originating or passing through the Synoptek network.
2. Customer Responsibilities. Services provided by the                      • Email Spamming or Mail Bombing: The transmitting of
Company are intended solely for the use of the Customer, its                  unsolicited email to multiple recipients, sending large amounts
affiliates and/or subsidiaries that are connected by LAN. WAN                 of email repeatedly to a person to harass or threaten, or any
or remote access applications; services may not be re-sold to or              attempt to use Synoptek servers as a mail drop or name
used by any outside entity without prior written consent from the             server for SPAM. Sending unsolicited bulk email from another
Company. Customer is responsible for the activities of its end­               Internet service provider's network advertising or implicating
users and agrees to inform its customers and/or end-users of                  any service hosted or provided by Synoptek, including without
this AUP or its own Acceptable Use Policy, which must not be                  limitation email, web, FTP and DNS services.
Inconsistent with the terms herein.                                         • Fraudulent Activities: Any intentional misrepresentation or
                                                                              misleading statement, writing, or activity made with the intent
3. Prohibited Conduct. The Services may not be used in                        that the person receiving it will act upon, obtaining or
violation of any community standards, accepted Internet                       attempting to obtain service by any means or device with intent
policy, laws or regulations of local, State or Federal                        to avoid payment.
governments or Agencies thereof, or international treaty.                   • Harm to Minors. Harming, attempting to harm, or exploiting
Customer agrees indemnify, defend and hold the Company                        minors in any way, including. but not limited to, the use of the
harmless for any claims arising out of the misuse of Services                 Services (i) to receive, distribute, solicit, present, or store illegal
by Customer. Illegal actions such as, but not limited to, misuse              images or URLs containing child pornography, or (ii) to post or
of copyrighted, patented or protected materials, use of the                   disclose personal identifiable information or private information
Services for defamatory, threatening or obscene purposes.                     of individuals under the age of 13 or in connection with
and the mass distribution of any message on an intrusive basis                materials directed towards children under the age of 13 without
to users of the Internet, is prohibited. This prohibition extends             verifiable parental consent.
to the sending of unsolicited mass mailings from another                    • Illegal or Unauthorized Access to Information, other
service, which in any way implicates the use of the Services.                 Computers. Accounts or Networks: Accessing, or attempting
Company equipment or any of Company email or IP                               to access, any computer resource belonging to another party,
address(es). Any such violations may be grounds for                           or attempting to penetrate security measures of other
termination of the Services, in addition to triggering any and all            systems, whether or not the intrusion results in corruption or
other rights of the Company. Without limiting the generality of               loss of data. This includes Collecting, or attempting to collect,
the foregoing provisions of this paragraph 3, the following                   personal information about third parties without their
activities illustrate some, but not all. prohibited uses under this           knowledge or consent or under false pretenses.
AUP:                                                                        • Network Sabotage: Any use of Synoptek's seNices to
                                                                              interfere with the use of the internet resources or the Synoptek
• Copyright or Trademark Infringement. Transmitting, uploading                network by other customers or end-users.


 Master Services Agreement                                     Confidential
 Page 11 of 18
 April 20, 2018
  Synoptek, LLC



                                                                                            Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

    Page 36 of 60                                                                                                                EXHIBIT A
  Case 1:24-bk-10646-MB                      Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                        Desc
                                             Main Document     Page 37 of 60

M§ services Agreement

• Phishing. Attempting to impersonate any person or entity,               customers of any such reseller or downstream service provider
  engaging in sender address or network header falsification, or          will be forwarded to the reseller or downstream service provider
  forging anyone else's digital or manual signature.                      for resolution. If Synoptek determines that a reseller or
• Unlawful Acts: Any use of Synoptek's services to violate the            downstream service provider is not taking appropriate action in
  law or aid of any unlawful act.                                         accordance with this AUP, Synoptek will work with the reseller or
• Usenet Spamming: Posting of messages to newsgroups, and                 downstream service provider to review their policies and
  the posting of harassing and/or threatening messages.                   enforcement procedures. If the reseller or downstream service
• Telemarketing/Unsolicited FAX: Use of the network for                   proVider continues to fail to take appropriate action, Synoptek will
  telemarketing via IP based telephony in violation of the                take such action as it deems appropriate, up to and including
  Telephone Consumer Protection Act, Telemarketing and                    termination of the Services.
  Consumer Fraud Abuse Prevention Act as well as other
  applicable laws, including both voice and facsimile
  transmissions.                                                          5. Violations and Enforcement Synoptek will enforce this
• Facilitating a Violation of this AUP: Advertising, transmitting,        AUP according to the severity of the offense and the Customer's
  or otherwise making available any software, program, or                 history of prior AUP infringements. At Synoptek's sole
  product, or service that is designed to violate this AUP which          discretion, violations of any element of this AUP may result; 1)
  includes, but is not limited to, the facilitation of the means to       in a written warning to the Customer followed by suspension or
  spam, initiation of pinging, flooding, mail bombing, denial of          termination of services if the Customer does not cease the
  service attacks, and privacy software.                                  violation; or 2) Synoptek may immediately suspend or terminate
                                                                          services, and/or terminate any associated agreement for
4. Responsibilities of Sellers and Downstream Service                     default. Repeat offenses will result in immediate termination of
Providers. Some users may be customers of Internet Service                services and any associated agreement for default. Synoptek is
Providers (ISPs) that receive Internet connectivity through               not liable for any damages of any nature suffered by any
Synoptek. Such ISPs (also known as resellers or downstream                Customer, user, or third party resulting in whole or in part from
service providers) are responsible for informing their customers          Synoptek exercising its rights under this AUP and waives any
of this AUP and for enforcing its restrictions. Complaints about          liability related to any violation.




Master Services Agreement                                  Confidential
Page 12 of 18
April 20. 2018
Synoptek, LLC



                                                                                      Doc ID: 278eb6afd2812c63468417d9bef3843f048b 1 be2

   Page 37 of 60                                                                                                          EXHIBIT A
Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                   Desc
                                          Main Document     Page 38 of 60

M§ Services Agreement


                                                             Exhibit B
                                                General Service Level Agreement ("GSLA"}
    1.   Definitions
         All capitalized terms used but not defined in this Exhibit shall have the meanings given them in the MSA to which this an
         Exhibit or the Work Order based on the order of precedence set forth in the MSA. For purposes of this GSLA, the
         following terms shall have the following meanings:

                a. "Available" shall mean the System or Network is up, running and responsive to ping requests.
                b. "Databases" are the gathering of associated files or tables containing related data.
                c. "Data Management• are devices or Software that serves the purpose of backing up, replicating or storing data.
                d. "Excusable Downtime" shall mean, during planned Scheduled Uptime, the aggregate amount of time in any
                     calendar month during which the System or Network is not Available for use by Customer due to action or
                     inaction by Customer, anyone acting by, through or under Customer, or for any other reason aside from the acts
                     or omissions of Company, or anyone acting by, through or under Company, which in any such case constitutes
                     a breach of the MSA.
                e. "Hardware" is infrastructure or devices which work together to accept, process and show data and information.
                f. "Highly Available" services are those based on a redundant, N+l fault-tolerant infrastructure whereby the failure
                     of any single component should not result in loss of service for the Customer.
                g. "Incident" is defined as an unplanned interruption to a service or reduction in the quality of a service.
                h. "Mean Time to Restore Service (MTRS)" includes the elapsed time to repair the cause of an Incident plus the
                    elapsed recovery time to restore normal service operation for all impacted systems and networks.
                i. "Network" means the voice and data related circuits and circuit termination equipment located at Company and
                     Customer locations pursuant to which Company will provide the Services.
                j. "Scheduled Downtime" shall mean, during planned Scheduled Uptime, the aggregate number of hours in any
                     calendar month during which the System or Network is scheduled to be not Available for use by Customer due
                    to such things as preventive maintenance, System upgrades, etc.
                k. "Scheduled Uptime" shall mean the days of the week and hours per day that Company or Network is scheduled
                    by Customer to be Available for use by Customer subject to mutually agreed upon Scheduled Downtime.
                I. ·service Availability" shall be calculated using the formula below for the purpose of determining whether
                     Company's performance meets the agreed performance standard for Customer subscribed services. The
                     following is 'Service Availability' expressed as a mathematical formula:

                          A = (SU • UD)/SU
                           where:
                                    A = Availability
                                    SU = Scheduled Uptime
                                    UD = Unplanned Downtime
                    The following is an example, determined on a monthly basis, using the above formula:

                             SU = 720 hours
                             UD = 6.25 hours
                             [(720. 6.2s)n201 = 99.13%.

                m. "Service Interruption· is a situation during Scheduled Uptime that the service is not Available.
                n. "Service Request" is a user request for information or advice, or for a standard change (a pre-approved change
                    that is low risk, relatively common and follows a procedure) or for access to an IT service.
                o. "Service Level Guarantee (SLG)" describes the minimum level of service that Company has committed to provide
                    and Company's failure to meet an SLG has financial penalties as described in this GSLA and the elsewhere in
                    this Agreement.
                p. "Service Level Objectives (SLO)" describes a target objective for a level of service that Company has committed
                    to provide. Company's failure to meet any SLO has no financial penalty.
                q. "Software" are programs that allow the Hardware to process the data.
                r. "System" is the computer technology specifically designed to carry out a planned task which include, without
                    limitation, Hardware, Software, Databases, Networks and Data Management.
                s. "Transitional Support Plan" defines service level targets and support model details for support provided by
                    Company while new services are deployed in the Customer environment.
                t. "Unplanned Downtime" shall mean, during planned Scheduled Uptime, the aggregate number of hours in any
                    calendar month during which the System or Network is not Available.


Master Services Agreement                                Confidential
Page 13 of 18
April20,2018
Synoptek, LLC



                                                                                   Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 38 of 60                                                                                                      EXHIBIT A
Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                     Desc
                                          Main Document     Page 39 of 60

Ms Services Agreement


    2.   Exclusions to Services • Assumptions and Adjustments

                Exclusions to Services
                Only Services explicitly described in a Service Order or Change Order will be provided. All other services are
                excluded. The following items are explicitly excluded unless specifically called out in any Change Order or Service
                Order as being included. This list is descriptive only and not intended to limit those items which are excluded:
                       o Products, parts and materials required to repair Customer systems are not included.
                       o   Major system upgrades or changes such as but not limited to: operating system upgrade, relocation of
                           equipment, installation of new applications, or any projects that are not considered "routine maintenance,
                           administration, or support" are not included.
                      o    Adds, moves or change projects that exceed two hours of work time are not included.
                       o   Application programming, modification and design work are not included.
                       o Services required that are a direct result of the Customer or an agent of the Customer modifying or
                           changing the configuration of covered equipment without explicit, prior Company consent is not included.

                Excluded Events
                The events listed below in this Section will have a material adverse impact on Company's ability to meet the SLO
                or SLG and in the event of an occurrence of any such event or combination of events, Company shall be excused
                from complying with any SLG or SLO until the cessation of any such events.

                All claims with respect to SLGs are excluded when one or more of the following conditions exist ("Excluded Events"):

                    i.   The outage occurs during a Regular Maintenance Window or Emergency Maintenance Action as defined
                         in Section 3 of this Appendix.
                   ii.   The outage is caused in full or In part by acts or omissions on the part of the customer, anyone acting by,
                         through or under Customer, or anyone else except to the extent of any act or omission by Company or
                         anyone acting by, through or under Company.
                  iii.   The outage is caused in full or in part by equipment, business operations, software or facilities owned by or
                         under the control of the Customer, including any third party equipment, except as a result of the acts or
                         omissions of Company, or anyone acting by, through or under Company.
                  iv.    The outage is caused in full or in part as a result of Company or its agents not being given access to the
                         Customer's premises (if applicable) where related communications lines or equipment are located, after
                         Company has requested such access.
                   v.    The Customer fails to provide Company with accurate, up-to-date contact information for the "Escalation
                         Plan" which will be created for Customer as part of the applicable Service Order, or when, after repeated
                         attempts over a period of one hour or more. Company support staff is unable to reach at least one of the
                         Customer's contacts on file when the event in question occurs.
                  vi.    The failure or malfunction of equipment, applications or Systems not owned or controlled by Company.
                 vii.    Force Majeure events.
                 viii.   Any suspension of Service pursuant to a Service Order.
                  ix.    Problems associated with Customer applications that cause the System or any portion thereof to be not
                         Available.
                   x.    A material increase in processing and the approval necessary for additional resources is partially or
                         completely withheld by customer.
                  xi.    A publicly reported vendor-announced issue that affects Company's compliance with any SLO or SLG for
                         a commercially reasonable period until a fix can be reasonably implemented.
                 xii.    Periods of Excusable Downtime including but not limited to planned outages, change management, or
                         Customer requested reboots.

    3.   Service Level Agreement
         The terms of this GSLA apply to all current or future relevant Services offered under the Agreement. Optional GSLA
         Addendums, if attached, include special provisions not covered by this GSLA. These Addendums are created by
         Company to address special customer requirements not covered in the GSLA or to address exceptions. All new Service
         Orders may require provisioning resources including, but not limited to documentation, altering of systems and processes

Master Services Agreement                                Confidential
Page 14 of 18
April 20, 2018
Synoptek, LLC




                                                                                    Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 39 of 60                                                                                                       EXHIBIT A
Case 1:24-bk-10646-MB                 Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                     Desc
                                      Main Document     Page 40 of 60

Ms Services Agreement

       to achieve desired performance. and/or possible support enhancements to reach ideal standards. Service Levels may
       be reduced or suspended upon service commencement as defined in a Transitional Support Plan.

                Maintenance Actions
                i.   Regular Maintenance Window
                     Company performs ongoing, proactive maintenance on the systems. networks and communications circuits
                     that provide services to our Customers. When performing any maintenance with the potential of causing a
                     Service Interruption, Company will schedule this activity to take place during a pre-planned maintenance
                     window.
                     Company will notify the Customer at least five (5) business days ahead of when such a maintenance
                     window is scheduled to occur and how long it is expected to last. This notification will be made by email
                     sent to the contacts listed In the Escalation Plan on file with Company. Another email will be sent to the
                     same contacts at the close of the maintenance window.
                     Company makes every attempt to perform such maintenance without disruption of service, including the
                     integration of redundancy features in our network infrastructure, but depending on the type of work being
                     performed, interruptions can occur.
               ii.   Emergency Maintenance Actions
                     In rare instances, Company may determine that some emergency, unscheduled maintenance action is
                     required due to circumstances outside of our immediate control that could pose a serious threat to the
                     operational integrity of our systems. networks, or facilities.
                     Company reserves the right to remove from service any equipment. which term shall include, without
                     limitation, Hardware and Software, presenting a threat to life and/or property (e.g. fire) when a significant
                     risk of additional damage exists should the equipment not be removed from service.
                     Company reserves the right to temporarily remove from our Network any equipment which Company
                     determines poses a threat to the operational integrity of our Network. This action may be required for
                     Incidents including, but not limited to, the Customer's equipment having been compromised in such a way
                     that it can be used by an auto-replicating virus or denial of service attack.
                     In these circumstances in which Company determines to take emergency action, Company will contact the
                     Customer In accordance with the Escalation Plan.

        Service Level Performance

        Service Level Guarantee (SLG): Company will make commercially reasonable efforts to provide the following SLGs where
        services are managed by the Company and specifically associated within a SeNice Order or Change Order. SLGs will
        be applied independently for each covered service item. Penalties may be accrued on indMdual covered service items
        if the service level performance in a given month fail to meet the stated guarantee.

       Company will provide compensation to the Customer for affected seNices represented by associated Service Order or
       Change Order for SLGs that are not met. Any Discount must be requested in writing within thirty {30) days of the date
       the trouble ticket associated with the Unscheduled Downtime is closed. Customer waives any right to Discounts not
       requested within the thirty (30) day period. Discounts will be issued once validated by Company and then applied to
       Customer's next invoice. No refunds will be given. This SLG Penalties Section provides Customer its sole and exclusive
       remedy for any Service Interruptions, deficiencies, or failures of any kind. The Discount will not apply and Customer will
       not be entitled to receive any Discount in the event the Incident involves an Excluded Event. Customer acknowledges
       that the Discounts are not cumulative.




Master Services Agreement                             Confldenual
Page 15 of 18
April 20, 2018
Synoptek. LLC



                                                                                Doc I0: 278eb6afd2812c63468417d9bef3843f048b1be2

 Page 40 of 60                                                                                                    EXHIBIT A
Case 1:24-bk-10646-MB                       Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                                             Desc
                                            Main Document     Page 41 of 60

          Services Agreement

                0   Network HA: All managed Network Services that are categorized as Highly Availability will be fully
                    operational 99.99% average uptime per month (no more than Sm of downtime).
                    S3rviaJ Availalility (99.99% �rvicey
                                                                         Actual Monthly
                     Meas.ire                                                                 Performance Oedit
                                                                          Performance

                     Slr11ice wallability %by S!rvice Item (1)              T::c99.99%        tlbOe:lit


                                                                                              4 Days Proraie:I cre:lit tor individual service ita:n based on
                    9lrvicewailability%by Sirvice Item (1)              99.95%= T < 99.99%
                                                                                              monthly chalge ror the month in which the ou1ageocour1ro.


                                                                                              8 Days A'orated cre:lit for indivldual sa-vlce item base:lon
                    S!rviceAlallabllity%by Slrvlce Item (I)              99.9%eT<99.95%
                                                                                              monthly c:hargelor lhe rronth in which 1he oulageoccurred.


                    S!rvtceAlailability%by Slrvicettem (1)                   T<99.9%          S!eNOlEl



                    NOTEl: PerformanceOedits whe-e 9!rvice Alailabll ity %is below 99.9%Is calculale:I as fol lows:
                                 B Days A'orated credit, A.US
                                 2 Pdditional Days A'orated credit for t!VlaJY0.1%below 99.9%
                                 Total penalty may not e,cceed 15 days credit tor a covered service item in a sin�e monIh.




                □   Servers & Storage HA: All managed servers, physical or logical {VMs) that are categorized as Highly
                    Availability will be fully operational 99.95% average uptime per month (no more than 22m of downtime).
                    �rvice Availaality (99.95% �rvice�
                                                                        Actual Monthly
                    Meas.ire                                                                  Performance Oedit
                                                                         Performance

                    S!rVlce i\lailability%by S!rvlce Item (1)               T=-=99.95¾        tlbOedlt


                                                                                              4 Oays Prorated credit lor impacted service items based on
                    S!rvlceA.lallabillly%by S!rviceltem (1)             99.75%<:::T <99.95%
                                                                                              monthly charge for the momh t n whlch the outage occurred.


                                                                                              B Days Prorated credit lor impacted service items based on
                    9!rvice Ar.Ill ab! Ii ty %by S!rvi ce Item (1)      99.5%=T <99.75%
                                                                                              mont hi y charge for the month In whl ch the outage occurred.


                    S!rvicewallablllty %by 9!rvice Item {l)                  T<99.5%          9leNOTE2



                    NOlE2: Pedormance Oedi ts where S!rvice Availability %is below 99 5%is calculated as follows:
                                  B Days Prorated credit. Pl.US
                                  2 .additional �ys A-orated credit for we-y 0.5%below 99.5%
                                  Total pe,alty may not exceed 15 days credit tor a co�ed :;ervice Item in a si n!le momh




Master Services Agreement                                            Confidential
Page 16 of 18
April 20, 2018
Synoptek, LLC



                                                                                                 Doc ID: 278eb6afd2812c63468417d9bef3843fO48b1 be2

 Page 41 of 60                                                                                                                               EXHIBIT A
Case 1:24-bk-10646-MB                              Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                                           Desc
                                                   Main Document     Page 42 of 60

            Services Agreement

                 o       Network Non-HA: All managed Network Services will be fully operational 99.9% average uptime per month
                         (no more than 44m of downtime).
                         �rvioe Availalility (99.9% �ces)
                                                                                 Actual Monthly
                         Mea9..lre                                                                 Performance 0-edit
                     I
                                                                                  Performance

                         SJrviceAlailability%by S:Jviceltem (1)                     T=99.9%        NJOedit


                                                                                                   4 cays Prorated etecfit lor lrq:,acted ser111ce Items based on
                         SlrvlceAlallabllity%by Slrvtce nem (1)                  99.5%<==T<99.9%
                                                                                                   monthly charge for the month In which the outage oa:urrro.


                                                                                                   8 Ceys A-orated credit IOI lrrpacted servtce Items based on
                         9:fvice Arai lability%by S!rvice Item (1)               99.0%<==T<99.5%
                                                                                                   monthly charge for the rnont h in which the outage oa:urred.


                         9:!"vi ce A/al I abi I ity %by 9:!"vi ce llem (1)           T<99.0%       9!eNOJE3



                         NOlE3: Performance Oedits where 9:!"vicelllailability %is below 99.0%1s calculatErl as follOINS:
                                    8 Days Prorated credit. A.1JS
                                        2 l>ddlllonal cays Ptorated credit for r:-MY 1%below 99%
                                        Total penalty may not exceed 15 days credi1 for a cova-ed service Item in a singemonlh.




                 D   Servers & Storage Non-HA: All managed servers, physical or logical, will be fully operational 99.5%
                     average uptime per month (no more than 3.6hrs of downtime).
                         �rvice Availalility (99.5% �rvicey
                                                                                 Actual Monthly
                         Meas.ire                                                                  Performance Oed1t
                                                                                  Performance

                         S:tvtce Allatlabil ity%by 9:!"vtce Item (1)                T:x:99.5%      NJO-edlt


                                                                                                   4 Days Prorated credit for impacted servl ce Items based on
                         S:tvicehtallability%by Slrvice Item (1)                 97.5%c:T<995%
                                                                                                   monthly charge for the rronlh in whfch the outage ocwrred.


                                                                                                   8 Days Prorated credil for impacted service items based on
                         S!rvice/li.lailability%by Slrvice Item (1)              95.0%<=T<97.5%
                                                                                                   rronthly chaJ'ge for the rronth In which the outage occurred.


                         S!rvicePwallabflity%by S!rvice I ten (1)                    T<95%         9leNOTE4



                         N01E4 • Per lormance Oedi ts where S,-vi ce Arail ab iii ty %is below 95%1 s calculated as loll ows:
                                    8 Days Prorated credi1, Pl.US
                                    2 Jlddttlooal Days A-orated credit for e,e,y 2%beow 95%
                                    Total penalty may not exceed 15 days credit tor a covered service item In a singe mon1h.




Master services Agreement                                                    Conf1dent1al
Page 17 of 18
April 20, 2018
Synoptek, LLC




                                                                                                      Doc ID: 278eb6afd2812c63468417d9bef3843f048b1 be2

 Page 42 of 60                                                                                                                                    EXHIBIT A
Case 1:24-bk-10646-MB                          Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                                                               Desc
                                               Main Document     Page 43 of 60

          Services Agreement

      Service Level Object i ves (SLO): Company will make commercially reasonable efforts to achieve the SLOs indicated In
      the charts appearing below for any service represented by associated Service Order or Change Order:

        Service level Objective                            Monthly Target
        Time to Answer (Phone}                             90 Second Average Speed or Answer
        Response to Email                                  15 minutes or less
        Call Abandonment Rate•                             Less than or equal to 5%
        Custome Sa ·staction
                r
                                                           95% Satisfied
                 "Calls <= 10 seconds and cans abandoned belo,e lhe piompt are excluded



            Synoptek Se,vk:e Level
             Oefmltlons & Targets



                                                                                                                � Cta.lDmet; Crix:-al W....tu:Ue Even1-S«we� dcit&al



                                                                     ,,_
                                                                                                                �tu•. ptQCd-lH '&y&ll!tft& )a::IHs, � mvarb                           •ub ...

                                                 .......                                  ....         _,._     __ ,.... _.,.•...,._..... ..... si,,,,,,.k.,__!..
                                                                                                                -..,_,,            E>o�- ,_.ndhltodl> c..dmlNQOd•-n
                                                                                                                Ho&tod----, Ex--. '-Of' --·....... Ire- ■


                                                                                                                -··---�----
                                                                                                                warbd �UMC.e IIttstoted.




                                                     ...
                                                 ,,,.,               flM•                 ....         __,,._
                                                                                                                -cw--.c...--.e..... Sr,joo�.,.-.,
                                                                                                                - ...................dalv_... ........ __ .._....""
                                                                                                                ..,,..�            E.....,.irdulll b&.tnol_., Cloudm-...-.ca
                                                                                                                Ho&loO,••- ....._,, � WP and-k- -•




                                                                                                       _.._
                                                                                                                wcn.dldlllaa'ft,tlannnd.



                                                                                                                .._,,_°'"""1W" __ ...,_""""E__..,_.. _.,

                                                 .,_                .. �M                 ....                  1trk•Wftrir�dai/Gp1"1".._ol'�uacnarbuK1ew�r"""� law
                                                                                                                d H• 1 tlldundltlcy &. r...
                                                                                                                                          ad 1111 a, mpairmcnl..,.,. • wril   h:ldmt\lll'Ortllld111




                                                     ..             .. ..
                                                                                                                --diildon ttMlf¥.d




                                                 ,..,,                                    '""                   Slnpu..,        a11,;., ___i.,,.. .,.... ............           ...,.........a.

                                                 ,._              .--.        ...    , ........,o.,,
                                                                                        (1Jth)
                                                                                                                -------....1\n: ...........IOct, ._,,,,.....
                                                                                                                eanc.,..... «ncn�1ditaleppie:__..er�t. Jke �




                                                 .....            tJlhol-1ttll
                                                                                    J ........ o.,._
                                                                                        "'"'l                   ----..iv,......,,.                w..,......i111,-.




                                                 ,._                                -4fi,...             �"     Tilnei:wC11"c-anKW911:kincl'Mnb yc1.MOcMf




                                                 ,._                .......         , ......,o.,,         ..
                                                 ·-
                                                                                                                E.;>edWS.W,•ll-�bo-,-.dl,y....-M)




                                                                  ,.,.._,o.,        ........ o.,,.,             8tlndsdS..,-..C•Re,o.J11Jl




Master Services Agreement                                           Confrdentral
Page 18 of 18
April 20, 2018
Synoptek, LLC



                                                                                                       Doc ID: 278eb6afd2812c63468417d9bel3843f048b1be2

 Page 43 of 60                                                                                                                                             EXHIBIT A
Case 1:24-bk-10646-MB   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30   Desc
                        Main Document     Page 44 of 60




                           EXHIBIT B




Page 44 of 60
        Case 1:24-bk-10646-MB                Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                    Desc

                                                                                                                         Invoice
                                             Main Document     Page 45 of 60


                                                                                            Date                              4/1/2024
                                                                                       Invoice#                               1245438



               Sy optek
                                                                                       Acct. No:                               802472
                                                                                     Invoice Total                            9,002.46
                                                                                 Total Acct Balance                           27,005.38
                                                                                  Overdue Balance                             18,002.92

                        Bill To                                                        Primary Service Location
 Synapse Financial Services                                              Synapse Financial Services
 101 2nd St Ste 1500                                                     101 2nd St Ste 1500
 Suite 1500                                                              Suite 1500
 San Francisco CA 94105-3656                                             San Francisco CA 94105-3656
 United States                                                           United States




          2 IFS-SNTMGT-ITaaS Site [04/01/2024 - 04/30/2024]                                                      603.889             1,207.78


         4 ITL-ITA-IT Advisory [04/01/2024 - 04/30/2024]                                                        247.0455                  988.18


          2 IFS-SYNDED-Synoptek Dedicated Cloud (laaS) [04/01/2024 - 04/30/2024]                               2,387.00 ...          4,774.02


          8 SEC-IFPROT-SIEM Compliance Basic [04/01/2024 - 04/30/2024]                                           87.8384                  702.70


          1 SEC-IFPROT-SIEM Threat Intelligence Reporting [04/01/2024 - 04/30/2024]                                525.00                 525.00


          2 SEC-VCISO-VCISO (BISG) [04/01/2024 - 04/30/2024]                                                    334.8839                  669.77


          1 Finance Charges of $135.01 for open balance of $9000.46                                                   1.50%               135.01




        Remit Address                ACH / Wire Information                  General
                                                                                                   Subtotal                             9,002.46
Make checks payable to:            JPMorgan Chase Bank, NA            1-888-SYNOPTEK
Synoptek, LLC                      270 Park Avenue, New York, NY      D: 800-957-4872 X 1
P.O. Box 737625                    10172                              F: 949-241--8690
Dallas, TX 75373-7625              Routing Number:                                                 Tax Total                                0.00
                                   Account Number:­                   www.Synoptek.com
*" Please contact us for           Please send remi ance a vice to:   Tax ID:XX-XXXXXXX
International Wire Instructions.   AR@Synoptek.com                                                 Total                         9,002.46 USD

         Page 45 of 60                                                                                                  EXHIBIT B
Case 1:24-bk-10646-MB   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30   Desc
                        Main Document     Page 46 of 60




                         EXHIBIT C




Page 46 of 60
        Case 1:24-bk-10646-MB                     Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                   Desc
                                                  Main Document     Page 47 of 60
                                                                                                                             Invoice

                  §
                                                                                                 Date                             5/1/2024
                                                                                               Invoice#                           1246711


               Synoptek
                                                                                            Acct. No.                              802472
                                                                                          Invoice Total                           9,002.46
                                                                                       Total Acct Balance                         27,005.38
                                                                                       Overdue Balance                            9,000.46

                                   Bill To                                                       Primary Service Location
    Synapse Financial Services                                                Synapse Financial Services
    101 2nd St Ste 1500                                                       101 2nd St Ste 1500
    Suite 1500                                                                Suite 1500
    San Francisco CA 94105-3656                                               San Francisco CA 94105-3656
    United States                                                             United States




         2 IFS-SN TMGT-ITaaS Site (05/01/2024 - 05/31/2024]                                                           603.889            1,207.78

         4 ITL-ITA-IT Advisory (05/01/2024 - 05/31/2024]                                                             247.0455                 988.18

         2 IFS-SYNDED-Synoptek Dedicated Cloud (laaS) (05/01/2024 - 05/31/2024]                                     2,387.00...          4,774.02

         8 SEC-IFPROT-SIEM Compliance Basic (05/01/2024 - 05/31/2024]                                                 87.8384                 702.70

         1 SEC-IFPROT-SIEM Threat Intelligence Reporting (05/01/2024 - 05/31/2024]                                      525.00                525.00

         2 SEC-VCISO-VCISO (BISG) (05/01/2024 - 05/31/2024]                                                          334.8839                 669.77

         1 Finance Charges of $135.01 for open balance of $9000.46                                                        1.50%               135.01




i       - -- -
        Remit Address
                                        - - - - - --
                                        ACH / Wire Information
                                                                                   -
                                                                                  General
                                                                                           -
                                                                                                        Subtotal                            9,002.46
Make checks payable to:                 JPMorgan Chase Bank, NA            1-888-SYNOPTEK
Synoptek, LLC                           270 Park Avenue, New York, NY      D: 800-957-4872 x 1
P.O. Box 737625                         10172                              F: 949-241-8690              Tax Total                               0.00
Dallas, TX 75373-7625                   Routing Number:
                                        Account Number:­                   www.Synoptek.com
.. Please contact us for                Please send remi ance a vice to:   Tax ID XX-XXXXXXX
International Wire Instructions.        AR@Synoptek.com                                                 Total                        9,002.46 USD

         Page 47 of 60                                                                                                      EXHIBIT C
        Case 1:24-bk-10646-MB                Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                    Desc

                                                                                                                         Invoice
                                             Main Document     Page 48 of 60


                                                                                             Date                             6/30/2024
                                                                                         Invoice#                             1249820


                    ynopt k
                                                                                        Acct. No.                              802472
                                                                                       Invoice Total                          9,272.50
                                                                                  Total Acct Balance                          36,277.88
                                                                                   Overdue Balance                            27,005.38

                        Bill To                                                         Primary Service Location
 Synapse Financial Services                                               Synapse Financial Services
 101 2nd St Ste 1500                                                      101 2nd St Ste 1500
 Suite 1500                                                               Suite 1500
 San Francisco CA 94105-3656                                              San Francisco CA 94105-3656
 United States                                                            United States




         2 IFS-SNTMGT-ITaaS Site [06/01/2024 - 06/30/2024]                                                        603.889            1,207.78


         4 ITL-ITA-IT Advisory [06/01/2024 - 06/30/2024]                                                         247.0455                 988.18

         2 IFS-SYNDED-Synoptek Dedicated Cloud (laaS) [06/01/2024 - 06/30/2024]                                 2,387.00...          4,774.02


          8 SEC-IFPROT-SIEM Compliance Basic [06/01/2024 - 06/30/2024]                                            87.8384                 702.70

          1 SEC-IFPROT-SIEM Threat Intelligence Reporting [06/01/2024 - 06/30/2024]                                525.00                 525.00

         2 SEC-VCISO-VCISO (BISG) [06/01/2024 - 06/30/2024]                                                      334.8839                 669.77

          1 Finance Charges of $135.01 for open balance of $9000.46                                                   1.50%               135.01


          1 Finance Charges of $270.04 for open balance of $18002.92                                                  1.50%               270.04




        Remit Address                ACH / Wire Information                   General
                                                                                                    Subtotal                            9,272.50
Make checks payable to:            JPMorgan Chase Bank, N.A.           1-888-SYNOPTEK
Synoptek, LLC                      270 Park Avenue, New York, NY       D: 800-957-4872 x 1
P.O. Box 737625                    10172                               F: 949-241-8690
Dallas, TX 75373-7625              Routing Number: -                                                Tax Total                               0.00
                                   Account Number:                     www.Synoptek.com
•• Please contact us for           Please send remittance advice to:   TaxlD:XX-XXXXXXX
International Wire Instructions.   AR@Synoptek.com                                                  Total                        9,272.50 USO

         Page 48 of 60                                                                                                  EXHIBIT C
        Case 1:24-bk-10646-MB                Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                               Desc

                                                                                                                    Invoice
                                             Main Document     Page 49 of 60


                                                                                            Date                         7/1/2024
                                                                                       Invoice#                       1249821



               Sy optek
                                                                                       Acct. No:                          802472
                                                                                     Invoice Total                       9,202.36
                                                                                 Total Acct Balance                   45,480.24
                                                                                  Overdue Balance                     27,005.38

                        Bill To                                                        Primary Service Location
 Synapse Financial Services                                              Synapse Financial Services
 101 2nd St Ste 1500                                                     101 2nd St Ste 1500
 Suite 1500                                                              Suite 1500
 San Francisco CA 94105-3656                                             San Francisco CA 94105-3656
 United States                                                           United States




         2 IFS-SNTMGT-ITaaS Site                                                                                603.89         1,207.78
           [07/01/2024 - 07/31/2024]


         4 SEC-IFPROT-SIEM Compliance Basic                                                                      87.84              351.36
           [07/01/2024 - 07/31/2024]


          2 IFS-SYNDED-Synoptek Dedicated Cloud (laaS)                                                         2,387.01        4,774.02
            [07/01/2024 - 07/31/2024]


         1 SEC-VCISO-VCISO (BISG)                                                                               334.88              334.88
           [07/01/2024 - 07/31/2024]


         4 ITL-ITA-IT Advisory                                                                                  247.05              988.20
           [07/01/2024 - 07/31/2024]


          1 SEC-IFPROT-SIEM Threat Intelligence Reporting                                                       525.00              525.00
            [07/01/2024 - 07/31/2024]


          4 SEC-IFPROT-SIEM Compliance Basic                                                                     87.84              351.36
            [07/01/2024 - 07/31/2024]
            SIEM - Compliance Basic - LA



        Remit Address                ACH / Wire Information                  General
                                                                                                   Subtotal                        9,202.36
Make checks payable to:            JPMorgan Chase Bank, NA            1-888-SYNOPTEK
Synoptek, LLC                      270 Park Avenue, New York, NY      D: 800-957-4872 X 1
P.O. Box 737625                    10172                              F: 949-241--8690
Dallas, TX 75373-7625              Routing Number:                                                 Tax Total                          0.00
                                   Account Number ­                   www.Synoptek.com
*" Please contact us for           Please send remI ance a vice to:   Tax ID:XX-XXXXXXX
International Wire Instructions.   AR@Synoptek.com                                                 Total                    9,202.36 USD

         Page 49 of 60                                                                                             EXHIBIT C
         Case 1:24-bk-10646-MB               Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                      Desc

                                                                                                             Invoice
                                             Main Document     Page 50 of 60


                                                                                            Date                7/1/2024
                                                                                       Invoice#                 1249821



               Sy optek
                                                                                       Acct. No:                802472
                                                                                     Invoice Total              9,202.36
                                                                                 Total Acct Balance          45,480.24
                                                                                  Overdue Balance            27,005.38

   Qty                                             Description                                        Rate          Amount
          1 SEC-VCISO-VCISO (BISG)                                                                     334.88              669.76
              [07/01/2024 - 07/31/2024]




         Remit Address               ACH / Wire Information                  General
Make checks payable to:            JPMorgan Chase Bank, NA            1-888-SYNOPTEK
Synoptek, LLC                      270 Park Avenue, New York, NY      D: 800-957-4872 X 1
P.O. Box 737625                    10172                              F: 949-241--8690
Dallas, TX 75373-7625              Routing Number:
                                   Account Number:­                   www.Synoptek.com
*" Please contact us for           Please send remi ance a vice to:   Tax ID:XX-XXXXXXX
International Wire Instructions.   AR@Synoptek.com

         Page 50 of 60                                                                                   EXHIBIT C
       Case 1:24-bk-10646-MB          Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                   Desc
                                      Main Document     Page 51 of 60
   §5                                                             Date                      8/13/2024


Synoptek                                                          PO#

                                                                  Invoice Number            1251694

                                                                  Payment Terms             Net30

                                                                  Payment Due               9/12/2024

                                                                  Total Acct Balance        $39,855.70

                                                                  Overdue Balance           $30,178.06

Synoptek
412 E. Parkcenter Blvd STE 300
Boise, ID 83706
Billing support: ar@synoptek.com

 Bill To                                                    Primary Service Location

 Synapse Financial Services                                 Synapse Financial Services
 101 2nd St Ste 1500                                        101 2nd St Ste 1500
 Suite 1500                                                 Suite 1500
 San Francisco CA 94105-3656                                San Francisco CA 94105-3656
 United States                                              United States



 Item Description                                             Quantity       Rate/Cost      Amount

 SEC-VCISO-VCISO (BISG)                                                  2       $334.88                   $669.76
 [08/01/2024 - 08/31/2024)

 IFS-SNTMGT-ITaaS Site                                                   2       $603.89                  $1,207.78
 [08/01/2024 - 08/31/2024)

 SEG-IFPROT-SIEM Compliance Basic                                        4         $87.84                  $351.36
 [08/01/2024 • 08/31/2024)

 IFS-SYNDED-Synoptek Dedicated Cloud (laaS)                              2     $2,387.01                  $4,774.02
 [08/01/2024 - 08/31/2024)

 ITL-ITA-IT Advisory                                                     4      $247.05                    $988.20
 [08/01/2024 - 08/31/2024)

 SEC-IFPROT-SIEM Threat Intelligence Reporting                           1       $525.00                   $525.00
 [08/01/2024 - 08/31/2024)

 SEC-IFPROT-SIEM Compliance Basic                                        4         $87.84                  $351.36
 [08/01/2024 - 08/31/2024]
 SIEM - Compliance Basic - LA

 Finance Charges of $405.08 for open balance of $27005.38                1          $NaN                   $405.08


 Finance Charges of $405.08 for open balance of $27005.38                1          $NaN                   $405.08


       Page 51 of 60                                                                          EXHIBIT C
     Case 1:24-bk-10646-MB                Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30              Desc
                                          Main Document     Page 52 of 60

     Remit Address           ACH / Wire Information        Contact Information   Total     Billable      $9,677.64
                                                                                 Amount
Make checks payable to:     JPMorgan Chase Bank, N.A.    1-888-SYNOPTEK                   Total Taxes          $0.00
Synoptek, LLC               270 Park Avenue, New York,   D: 80~957-4872 x 1
P.O. Box 737625             NY 10172                     F: 949-241-8690
Dallas, TX 75373-7625       Routing Number: -            ar@Synoptek.com             Grand Total $9,677.64
                            Account Number:
•• Please contact us for    Please send rem ittance      www.Synoptek.com
I n t ernationa l  W i re   advice to:                   Tax lD: XX-XXXXXXX
Instructions.               ar@Synoptek.com




      Page 52 of 60
                                                                                              EXHIBIT C
Case 1:24-bk-10646-MB   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30   Desc
                        Main Document     Page 53 of 60




                          EXHIBIT D




Page 53 of 60
    Case 1:24-bk-10646-MB   Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30             Desc
                            Main Document     Page 54 of 60




                                               Dual Hybrid Cloud Hubs
                                                Service Order# 006468 I Version 1




                                  Prepared for:                      Prepared by:
                                  Synapse Financial Services         Ryan Ribary




-
    Page 54 of 60                                                                   EXHIBIT D
         Case 1:24-bk-10646-MB              Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                            Desc
                                            Main Document     Page 55 of 60




Wednesday, January 09, 2019

Synapse Frnanctal Services
Sankaet Pathak
101 2nd st Surte 1500
san francisco. ca 94105
sankaet@synapsepay com


Dear Sankaet Pathak.

Synoptek is pleased to submit this proposal as a response to your request for quote. Synoptek represents its capabilities and
strengths with the best interest of our clients. The proposed services contained in this response will be delivered from Synoptek
employees, inside of Synoptek managed facilities.
 The following core services are proposed:                        Our proposal outlines the following:

      • 24x7x 365 Core Infrastructure Management                        • Executive Summary
      • 24x7 Infrastructure Monitoring, Response and                    • Scope
        Remediation                                                     • Approach
      • Managed Security                                                • Transition Plan
      • IT Advisory Services                                            • Assumptions & Risks
                                                                        • Pricing & Terms
                                                                        • Synoptek at a Glance
                                                                        • Overview of Service Offering

On behalf of all ol our teams at Synoplek, we look forward to the opportunity lo serve you. Weare absolutely confidentlhat our
history of performance, expertise, company culture, and high attention to the end user's experience will differentiate Synoptek
from others in the market.

Synoptek is committed to providing the necessary professionals and resources to ensure the successful delivery of services
contained in this proposal and will meet the requirements contained herein. We sincerely believe that our understanding of your
current IT environment, combined with our ability to deliver these services will result in the best value for your organization.

This proposal will remain valid for 30 days from submittal and is binding based on the material shared between both parties, as
well as the assumptions enclosed.

Thank you for your consideration. tr you have any questions or need additional information, please contact me
directly,503.998.2177.

Sincerely,




Ryan R1bary
Sr Solutions Architect
Synoptek, LLC




         Page 55 of 60                                                                                          EXHIBIT D
          Case 1:24-bk-10646-MB                Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                     Desc
                                               Main Document     Page 56 of 60




Terms and Conditions



Synoptek has deep experience providing managed IT support services for organizations that are driven to
provide their staff with high service levels, outstanding customer service, and superb end user experience.
We understand that pricing needs to be flexible and scalable with the organization. To achieve this Synoptek
proposes a pricing methodology that simplifies cost calculation and provides complete IT support for Services
enclosed in the pricing table, detailed below.
The Term of this Service Order shall be 36 months. The Term shall automatically renew in accordance with
the terms set forth in the Master Services Agreement between the parties.

At no point will Customer allow Synoptek access to Client Data. Synoptek has no system to access data if it
were to exist. This contract is a network management solution without data storage enablement.

If Customer is not notified 90 days prior to end of term of contract renewal, Contract will convert to month to
month at the same rate.
In case of any conflict, the Terms in this Service Order shall prevail over the terms of the Master Services
Agreement.

    ,?/

General Assumptions


Recurring billing will be effective as of service turn up.

Non-recurring billing will be invoiced when this Service Order or Change Order has been executed by both Parties.

In no event will the then current Monthly Recurring Charges (MAC) be reduced by more than five percent (5%) during the Term of
this Service Order as result of any reduction in scope of Services.




          Page 56 of 60                                                                                      EXHIBIT D
           Case 1:24-bk-10646-MB            Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                            Desc
                                            Main Document     Page 57 of 60




Dual Hybrid Clouc:� Hubs
Prepared for:                                     Prepared by:                                       Service Order
                                                                                                     Information:
Synapse Financial Services                       -r-,,,��Synoptek,UC                                 Service Order#: 006468
101 2nd st Suite 1500                                         Ryan Ribary                            Version: 1
sa11 francisco. ca 94105                                      503998.2177                            Delivery Date: 01·092019
Sankaet Pathak                                                Fax                                    Expiration Date: 02..07 2019
sar.kae!@synapsepay.com                                       mbary@synoplek com
(901) 942-8167




Service Order Summary
IDescripilon                                                                                               NRG                 MRCI
 IT Management                                                                                                             $1,510.00

Core Infrastructure Management                                                                        $3,000.00            $5,448.00
Security Management                                                                                     $400.00            $1,140.00
Labor & Assessments                                                                                  $11,250.00


SUbtotal(s}                                                                                        $14,650.00            $8,098.00
Total(s)                                                                                           $14,650.00            $8,098.00


This Managed Services Order is issued under the agreed terms and conditions of the Master Service Agreement on lile. I! lhese
seTVJces are subject to taxation, the Client agrees that rt will pay any such taxes invoiced by Synoptek. Both parties represent and
warrant that they have full corporate power and authonly to execute and dehver this Service Order and to perform their obhgation
hereunder. and that the person whose signature appears below is duly authonzec:I lo enter into this Service Order on behalf of the
party and subject to all terms and conditions stated herein.

IN WITNESS WHEREOF, the parties have agreed lo the terms and conchllons of this Service Order as of the date of the last
Stgnature.

Synapse Financial Services                                            Synoptek, LLC

SMKruf prulto..K
Signature                                                             Signature


01/09/2019                                                                        01/09/2019
Date                                                                  Date




           Page 57 of 60                                                                                          EXHIBIT D
          Case 1:24-bk-10646-MB                  Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                                            Desc
                                                 Main Document     Page 58 of 60




Service Order Details
IT Management
Short Descripbon    _    Description                                                                                MRC        Qty
                         rr Adviscl'}' serw:es includes devefqiirlg and man�ng a plan to                        $225.00        4               $900.00
                         � ClJSli:Jmer'S IT systems and a:mm;e them along the capabirrly
                         mahJrlty model.

 VCfSO                   Y"lftuaJ Chiel Information Sea.uity Officer prowfes advisory senices                    5305.00       2                5610.00
                         iru:ludes devel0pir1g and ma.iaging a seQJJ'ity plan, aealion am'or
                         development of policy to enhance cuswme(s secumy posture.

                                                                           Recurring Subtotal                                                $1,510.00

Core Infrastructure Management
Sheri "bescnpiion        Descnpt_ion_                   _        _.        _       NRC            MR�� __9·1y   . _ • _ . '. E�t: NRC_ . _     -�t. MRC_
ITaaS • Per Site         Monitoring, remediaoon and reporting for up           S500.00      S550.00       2             $1,000.00             $1,100.00
                         IO 4 net,rorll devices (router, switeh, firewall,
                         WAP, circuit! localed In a s.tngle cliell1 site.
                         Additional devices may increase pricing.
                         Minimum of 5 usera.
                         LA and Silicon Valley

Performance Hub •        Rentar of eus1omer solution based                     Sl.000.00   S2.174.00      2                S2.000.00          $4,348.00
client core • Device     equipment Sold with Client Performance
                         Hub
                         Hardware:

                         HA Cisco Nexus 3048 1 Gb switchs

                         HA Fortinet Routing Firewall with
                         IPS (1Gb Throughput), includes 4
                         virtual firewalls.




                                                                           Subtotal                                   $3,000.00              $5,448.00

Security Management

SIEM - Compliance        SI EM-as-a-Service sol I.Ilion. fully hosted in         $50.00         $80.00    8                $400.00             $640.00
Basic                    our secure and compliant cloud to monitor
                         critical systems. This includes manual daily
                         fog review required lor regulatory compliance.
                         Priced per device.

SIEM • Threat            Monlhly report hlghllghttng incidenls and                S0.00     S500.00                           S0.00             $500.00
Intelligence Reporting   resolutions. SIEMaaS Basic or Complete
                         required.

                                                                           Subtotal                                       $400.00            $1,140.00




           Page 58 of 60                                                                                                             EXHIBIT D
         Case 1:24-bk-10646-MB               Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                           Desc
                                             Main Document     Page 59 of 60




Labor & Assessments

Short Descr1ptmn         Description                                                                  �rice   Qty          Ext. Pnce
Engineer for Networls   A professiociaf serw:es engineer providing remore consultipg and support   $225.00    50         $11,250.00
                        5ffi'rlrml� �ftS"�'network coming from Master Card
                         hardware onsite, and peering with AWS HA direct
                         connect
                                                                    One Time Subtolal                                   $11,250.00




          Page 59 of 60                                                                                            EXHIBIT D
Case 1:24-bk-10646-MB         Doc 338 Filed 08/14/24 Entered 08/14/24 21:40:30                    Desc
                              Main Document     Page 60 of 60

YHELLOSIGN                                                                          Audit Trail


TITLE
                                    Synoptek

FILE NAME                           Synoptek MSA 042018.docx and 1 other

DOCUMENT ID                         278eb6afd2812c63468417d9bef3843f048b1be2

STATUS                                Completed




Document History


              01/09/2019            Signed by Mariana Chapei (mariana@synapsefi.com)
   SIGNEO     18:54 :58 UTC         IP: 38.88.175.154




              01/09/2019            Sent for signature to Sankaet Pathak {s@synapsefi.com) from
    SENT      18:55:11 UTC          mariana@synapsefi.com
                                    IP: 38.88.175.154




              01/09/2019            Viewed by Sankaet Pathak {s@synapsefi.com)
  VIEVIEO     18:55:28 UTC          IP: 38.88.175.154




              01/09/2019            Signed by Sankaet Pathak (s@synapsefi.com}
  SIGNEO      18:55:41 UTC          IP: 38.88.175.154




    0         01/09/2019            The document has been completed.
              18:55:41 UTC




Page 60 of 60                                                                            EXHIBIT D
